Filed 05/12/19                                                           Case 19-12023                                                                   Doc 1
     Fill in this information to identify your case:

         United States Bankruptcy Court for the:

         ____________________  District of _________________
         Eastern District of California      (State)
         Case number (If known): _________________________ Chapter you are filing under:
                                                           
                                                           ✔ Chapter 7
                                                                    Chapter 11
                                                                    Chapter 12
                                                                    Chapter 13                                                Check if this is an
                                                                                                                                  amended filing


    Official Form 101
    Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/17

    The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
    joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


    Pa rt 1 :     I de nt ify Yourse lf

                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    1.    Your full name
           Write the name that is on your
           government-issued picture
                                             Oscar
                                            __________________________________________________            Elizabeth
                                                                                                         __________________________________________________
           identification (for example,     First name                                                   First name
           your driver’s license or          Antonio
                                            __________________________________________________           __________________________________________________
           passport).                       Middle name                                                  Middle name

           Bring your picture                Uribe
                                            __________________________________________________            Uribe
                                                                                                         __________________________________________________
           identification to your meeting   Last name                                                    Last name
           with the trustee.                ___________________________                                  ___________________________
                                            Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




    2.    All other names you
          have used in the last 8
          years
           Include your married or
           maiden names.




    3.    Only the last 4 digits of                           4    7    3    4                                        0    7    4    4
          your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
          number or federal                 OR                                                           OR
          Individual Taxpayer
          Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
          (ITIN)


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                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


    4.   Any business names
         and Employer                
                                     ✔ I have not used any business names or EINs.                
                                                                                                  ✔ I have not used any business names or EINs.

         Identification Numbers
         (EIN) you have used in      _________________________________________________            _________________________________________________
         the last 8 years            Business name                                                Business name

         Include trade names and
                                     _________________________________________________            _________________________________________________
         doing business as names     Business name                                                Business name



                                     _________________________________________________            _________________________________________________
                                     EIN                                                          EIN

                                     _________________________________________________            _________________________________________________

                                     EIN                                                          EIN



    5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                     406 Calderdale Dr.                                           _________________________________________________
                                     _________________________________________________
                                     Number     Street                                            Number     Street


                                     _________________________________________________            _________________________________________________


                                     Bakersfield                             CA
                                     _________________________________________________
                                                                                       93307      _________________________________________________
                                     City                            State   ZIP Code             City                            State   ZIP Code

                                     Kern County                                                  _________________________________________________
                                     _________________________________________________
                                     County                                                       County


                                     If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                     above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                     any notices to you at this mailing address.                  any notices to this mailing address.


                                     _________________________________________________            _________________________________________________
                                     Number     Street                                            Number     Street

                                     _________________________________________________            _________________________________________________
                                     P.O. Box                                                     P.O. Box

                                     _________________________________________________            _________________________________________________
                                     City                            State   ZIP Code             City                            State   ZIP Code




    6.   Why you are choosing        Check one:                                                   Check one:
         this district to file for
         bankruptcy                  
                                     ✔ Over the last 180 days before filing this petition, I      
                                                                                                  ✔ Over the last 180 days before filing this petition, I
                                           have lived in this district longer than in any other      have lived in this district longer than in any other
                                           district.                                                 district.

                                      I have another reason. Explain.                             I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




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     Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


     7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
           Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
           are choosing to file
           under
                                          
                                          ✔
                                            Chapter 7
                                           Chapter 11
                                           Chapter 12
                                           Chapter 13

     8.    How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                          
                                          ✔ I need to pay the fee in installments. If you choose this option, sign and attach the

                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


    9.     Have you filed for        No
           bankruptcy within the
                                                      Eastern District of California                                           08-13597
                                                                                                        06/20/2008 Case number __________________
           last 8 years?            
                                    ✔
                                      Yes.   District ____________________________________________ When ______________


                                             District ____________________________________________ When ______________ Case number __________________


                                             District ____________________________________________ When ______________ Case number __________________




     10.   Are any bankruptcy              ✔ No
           cases pending or being
           filed by a spouse who is         Yes.
           not filing this case with
           you, or by a business
           partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
           affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                    Debtor _________________________________________________                    R elationship to you ___________________________

                                    District _______________________________________________ When _______________ Case number, if known__________________


    11.    Do you rent your               
                                          ✔ No.    Go to line 12.
           residence?                      Yes.   Has your landlord obtained an eviction judgment against you?


                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                        this bankruptcy petition.




           Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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    Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


    12.   Are you a sole proprietor         
                                            ✔ No. Go to Part 4.
          of any full- or part-time
          business?                          Yes. Name and location of business
          A sole proprietorship is a
          business you operate as an                 _______________________________________________________________________________________
                                                     Name of business, if any
          individual, and is not a
          separate legal entity such as
          a corporation, partnership, or             _______________________________________________________________________________________
                                                     Number    Street
          LLC.
          If you have more than one
                                                     _______________________________________________________________________________________
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.                          _______________________________________________        _______      __________________________
                                                      City                                                  State        ZIP Code


                                                     Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above


    13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
          Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
          Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
          are you a small business
          debtor?
                                            
                                            ✔ No.    I am not filing under Chapter 11.
          For a definition of small
          business debtor, see               No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
          11 U.S.C. § 101(51D).                      the Bankruptcy Code.

                                             Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                     Bankruptcy Code.


    Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


    14.   Do you own or have any            
                                            ✔ No
          property that poses or is
          alleged to pose a threat           Yes.    What is the hazard?
          of imminent and
          identifiable hazard to
          public health or safety?
          Or do you own any
          property that needs
                                                      If immediate attention is needed, why is it needed?
          immediate attention?
          For example, do you own
          perishable goods, or livestock
          that must be fed, or a building
          that needs urgent repairs?
                                                      Where is the property?




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    Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    15.   Tell the court whether
          you have received a
          briefing about credit             You must check one:                                          You must check one:
          counseling.
                                            
                                            ✔ I received a briefing from an approved credit              
                                                                                                         ✔ I received a briefing from an approved credit
                                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
          The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
          receive a briefing about credit      certificate of completion.                                   certificate of completion.
          counseling before you file for
                                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
          bankruptcy. You must
                                               plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
          truthfully check one of the
          following choices. If you          I received a briefing from an approved credit               I received a briefing from an approved credit
          cannot do so, you are not            counseling agency within the 180 days before I               counseling agency within the 180 days before I
          eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                   certificate of completion.
          If you file anyway, the court
                                               Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
          can dismiss your case, you
                                               you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
          will lose whatever filing fee
                                               plan, if any.                                                plan, if any.
          you paid, and your creditors
          can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
          again.                               services from an approved agency, but was                    services from an approved agency, but was
                                               unable to obtain those services during the 7                 unable to obtain those services during the 7
                                               days after I made my request, and exigent                    days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                               of the requirement.                                          of the requirement.
                                               To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                               required you to file this case.                              required you to file this case.
                                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                               may be dismissed.                                            may be dismissed.
                                               Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                               days.                                                        days.

                                             I am not required to receive a briefing about               I am not required to receive a briefing about
                                               credit counseling because of:                                credit counseling because of:

                                                Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                                  deficiency that makes me                                     deficiency that makes me
                                                                  incapable of realizing or making                             incapable of realizing or making
                                                                  rational decisions about finances.                           rational decisions about finances.
                                                Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                                  to be unable to participate in a                             to be unable to participate in a
                                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                                  through the internet, even after I                           through the internet, even after I
                                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                                Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                                  duty in a military combat zone.                              duty in a military combat zone.
                                               If you believe you are not required to receive a             If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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     Pa rt 6 :     Answ e r T he se Que st ions for Re port ing Purpose s

                                          16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
          you have?
                                                  No. Go to line 16b.
                                               
                                               ✔   Yes. Go to line 17.

                                          16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                               money for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.

                                          16c. State the type of debts you owe that are not consumer debts or business debts.
                                               _______________________________________________________________

    17.   Are you filing under
          Chapter 7?                       No.    I am not filing under Chapter 7. Go to line 18.

          Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                        No
                                             ✔
          administrative expenses
          are paid that funds will be         Yes
          available for distribution
          to unsecured creditors?

    18.   How many creditors do           
                                          ✔ 1-49                                    1,000-5,000                             25,001-50,000
          you estimate that you            50-99                                   5,001-10,000                            50,001-100,000
          owe?                             100-199                                 10,001-25,000                           More than 100,000
                                           200-999
    19.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
          estimate your assets to          $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
          be worth?                       
                                          ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
    20.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
          estimate your liabilities        $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
          to be?                          
                                          ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
    Pa rt 7 :      Sign Be low

                                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                               correct.
                                          If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                          of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                          under Chapter 7.
                                          If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                          this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                          I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                          with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                          18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                           /s/ Oscar Antonio Uribe
                                             ______________________________________________              _____________________________
                                                                                                           /s/ Elizabeth Uribe
                                             Signature of Debtor 1                                           Signature of Debtor 2

                                                             05/09/2019                                                   05/09/2019
                                             Executed on _________________                                   Executed on __________________
                                                            MM    / DD    / YYYY                                            MM / DD     / YYYY




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                                    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
    For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
    represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                    the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
    If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
    by an attorney, you do not
    need to file this page.
                                    _________________________________
                                      /s/ Scott Bell                                                    Date           05/09/2019
                                                                                                                      _________________
                                       Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                         Scott Bell
                                       _________________________________________________________________________________________________
                                       Printed name

                                         Law Offices of Scott Bell
                                       _________________________________________________________________________________________________
                                       Firm name

                                        1331 L St.
                                       _________________________________________________________________________________________________
                                       Number Street

                                       _________________________________________________________________________________________________

                                        Bakersfield                                                     CA            93301
                                       ______________________________________________________ ____________ ______________________________
                                       City                                                    State        ZIP Code




                                       Contact phone 661-243-1737
                                                     ______________________________         Email address
                                                                                                            s.bell@bell-law.net
                                                                                                            _________________________________________



                                        198387                                                          CA
                                       ______________________________________________________ ____________
                                       Bar number                                              State




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                                                          Certificate Number: 17082-CAC-CC-032756356


                                                                         17082-CAC-CC-032756356




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on May 1, 2019, at 7:34 o'clock PM MST, OSCAR URIBE
           received from Summit Financial Education, Inc., an agency approved pursuant to
           11 U.S.C. 111 to provide credit counseling in the Central District of California,
           an individual [or group] briefing that complied with the provisions of 11 U.S.C.
           109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   May 1, 2019                            By:      /s/Lillie Hernandez


                                                          Name: Lillie Hernandez


                                                          Title:   Certified Credit Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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                                                          Certificate Number: 17082-CAE-CC-032754623


                                                                         17082-CAE-CC-032754623




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on May 1, 2019, at 2:42 o'clock PM MST, ELIZABETH URIBE
           received from Summit Financial Education, Inc., an agency approved pursuant to
           11 U.S.C. 111 to provide credit counseling in the Eastern District of California,
           an individual [or group] briefing that complied with the provisions of 11 U.S.C.
           109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   May 1, 2019                            By:      /s/Lillie Hernandez


                                                          Name: Lillie Hernandez


                                                          Title:   Certified Credit Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
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      Fill in this information to identify your case:

      Debtor 1
                          Oscar Antonio Uribe
                        __________________________________________________________________
                          First Name                      Middle Name                    Last Name

      Debtor 2
                          Elizabeth Uribe
                          ________________________________________________________________
      (Spouse, if filing) First Name                      Middle Name                    Last Name


                                              ______________________
      United States Bankruptcy Court for the: Eastern District of California District of __________
                                                                                                     (State)
      Case number         ___________________________________________                                                                                                           Check if this is an
                          (If known)                                                                                                                                              amended filing



    Official Form 106Sum
    Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                        12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.


     Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                           Your assets
                                                                                                                                                                           Value of what you own
     1. Schedule A/B: Property (Official Form 106A/B)
         1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 205,867.00
                                                                                                                                                                                 ________________



         1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 58,296.00
                                                                                                                                                                                 ________________


         1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                               $ 264,163.00
                                                                                                                                                                                 ________________



     Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                           Your liabilities
                                                                                                                                                                           Amount you owe
     2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
         2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 186,287.00
                                                                                                                                                                                 ________________


     3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                               $ 0.00
                                                                                                                                                                                 ________________
         3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

         3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                           +   $ 31,564.00
                                                                                                                                                                                 ________________


                                                                                                                                          Your total liabilities               $ 217,851.00
                                                                                                                                                                                 ________________



     Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


     4. Schedule I: Your Income (Official Form 106I)
         Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 4,255.40
                                                                                                                                                                                 ________________


     5. Schedule J: Your Expenses (Official Form 106J)
         Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,210.00
                                                                                                                                                                                 ________________




    Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
Filed 05/12/19                                                            Case 19-12023                                                                          Doc 1
                      Oscar Antonio Uribe
    Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                     First Name     Middle Name        Last Name




     Pa rt 4 :     Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

     6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
         Yes
         ✔




     7. What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
         ✔


               family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
               this form to the court with your other schedules.



     8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
        Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,839.60
                                                                                                                                           $ _________________




     9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                                Total claim


          From Part 4 on Schedule E/F, copy the following:

                                                                                                                                   0.00
        9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                                   0.00
                                                                                                                $_____________________
        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                                   0.00
                                                                                                                $_____________________
        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                                   0.00
                                                                                                                $_____________________
        9d. Student loans. (Copy line 6f.)


        9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                                $_____________________
            priority claims. (Copy line 6g.)

                                                                                                                                   0.00
        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



        9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                                $_____________________




        Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
FiledFill
      05/12/19
          in this information to identify your case and this filing: Case 19-12023                                                                                   Doc 1

      Debtor 1
                          Oscar Antonio Uribe
                        __________________________________________________________________
                          First Name               Middle Name                Last Name

      Debtor 2             Elizabeth Uribe
                          ________________________________________________________________
      (Spouse, if filing) First Name               Middle Name                Last Name


                                              ______________________
      United States Bankruptcy Court for the: Eastern District of California District of __________
                                                                                          (State)
      Case number         ___________________________________________
                                                                                                                                               Check if this is an
                                                                                                                                                   amended filing

      Official Form 106A/B
      Sche dule A/B: Prope r t y                                                                                                                              12/15

      In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
      category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
      responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
      write your name and case number (if known). Answer every question.

     Pa rt 1 :       De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
     1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

              No. Go to Part 2.
          
          ✔    Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                       
                                                                       ✔    Single-family home                           the amount of any secured claims on Schedule D:
            1.1. 406   Calderdale Dr.
                 _________________________________________                 Duplex or multi-unit building
                                                                                                                         Creditors Who Have Claims Secured by Property:
                 Street address, if available, or other description
                                                                           Condominium or cooperative                   Current value of the Current value of the
                                                                           Manufactured or mobile home                  entire property?     portion you own?
                   _________________________________________
                                                                           Land                                          205,867.00
                                                                                                                         $________________   205,867.00
                                                                                                                                           $_________________
                                                                           Investment property
                   Bakersfield              CA 93307                                                                     Describe the nature of your ownership
                   _________________________________________
                   City                         State     ZIP Code
                                                                           Timeshare                                    interest (such as fee simple, tenancy by
                                                                           Other __________________________________     the entireties, or a life estate), if known.

                                                                       Who has an interest in the property? Check one.
                                                                                                                         Fee  simple
                                                                                                                         __________________________________________

                  Kern County                                           Debtor 1 only                                    Check if this is community property
                  _________________________________________
                   County                                               Debtor 2 only
                                                                       
                                                                       ✔ Debtor 1 and Debtor 2 only

                                                                        At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




          If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                          Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
            1.2. ________________________________________
                 Street address, if available, or other description
                                                                          Duplex or multi-unit building
                                                                         Condominium or cooperative                     Current value of the     Current value of the
                                                                          Manufactured or mobile home                   entire property?         portion you own?
                   ________________________________________
                                                                          Land                                          $________________        $_________________
                                                                          Investment property
                   ________________________________________
                   City                    State   ZIP Code
                                                                          Timeshare                                     Describe the nature of your ownership
                                                                          Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                         the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                                                                         __________________________________________
                                                                       Debtor 1 only
                   ________________________________________
                   County                                              Debtor 2 only
                                                                       Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                       At least one of the debtors and another             (see instructions)

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:




                                                                                                                                                       page 1 of ___
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Filed 05/12/19                                                                Case 19-12023                                                                               Doc 1



    1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

                ________________________________________
                                                                        Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.
                Street address, if available, or other description      Duplex or multi-unit building
                                                                        Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                              entire property?          portion you own?
                ________________________________________                Manufactured or mobile home
                                                                        Land                                                 $________________         $_________________

                ________________________________________
                                                                        Investment property
                City                    State   ZIP Code                Timeshare
                                                                                                                              Describe the nature of your ownership
                                                                                                                              interest (such as fee simple, tenancy by
                                                                        Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                             __________________________________________
                                                                     Who has an interest in the property? Check one.
                ________________________________________              Debtor 1 only
                County
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                                  (see instructions)
                                                                      At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




    2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  205,867.00
                                                                                                                                                        $_________________
       you have attached for Part 1. Write that number here. ...................................................................................... 


    Pa rt 2 :      De sc ribe Y our V e hic le s


    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
    you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
       
       ✔     Yes


        3.1.
                       Acura
                Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                        MDX
                Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                       2005                           Debtor 2 only
                Year:                 ____________
                                                                     
                                                                     ✔ Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                      170,000                                                                                 entire property?          portion you own?
                Approximate mileage: ____________                     At least one of the debtors and another
             Other information:
                                                                                                                               1,300.00                  1,300.00
       Condition: Fair; Salvage Title                                 Check if this is community property (see               $________________         $________________
                                                                         instructions)



       If you own or have more than one, describe here:

        3.2.           Chevrolet
                Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                        Acadia
                Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                       2017                           Debtor 2 only
                Year:                 ____________                                                                            Current value of the      Current value of the
                                                                     
                                                                     ✔ Debtor 1 and Debtor 2 only
                                                                                                                              entire property?          portion you own?
                                      19,000
                Approximate mileage: ____________                     At least one of the debtors and another
             Other information:
                                                                                                                               27,768.00
                                                                                                                              $________________          27,768.00
                                                                                                                                                        $________________
       Condition: Good                                                Check if this is community property (see
                                                                         instructions)




                                                                                                                                                                       10
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                                                                                                                                                             page ___
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               Make:      Acura
                           ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
      ____.
      3.3
               Model: Integra
                       ____________________________
                                                                                   Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                1998                               Debtor 2 only
               Year:                            ____________
                                                                                   Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
               Approximate mileage: 200,000                                                                                                                 entire property?                 portion you own?
                                    ____________                                   At least one of the debtors and another
               Other information:
                                                                                                                                                             500.00                           500.00
               Condition: Poor; Non-Operable                                       Check if this is community property (see                                $________________                $________________
                                                                                      instructions)




      3.4                 Chevrolet                                               Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
     ____      Make: ____________________________
               Model: Silverado  1500
                      ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                            Creditors Who Have Claims Secured by Property.
                                               2006                                Debtor 2 only
               Year:                            ____________
                                                                                   Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
               Approximate mileage: 160,000
                                     ____________                                  At least one of the debtors and another
                                                                                                                                                            entire property?                 portion you own?

               Other information:
                                                                                                                                                             1,100.00                         1,100.00
               Condition: Fair; Salvage Title                                      Check if this is community property (see                                $________________                $________________
                                                                                      instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       
       ✔    No
           Yes


                                                                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
       4.1.     Make:       ____________________________

                Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
                Year:       ____________
                                                                                  Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
                Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                                   Check if this is community property (see                                $________________                $________________
                                                                                      instructions)



       If you own or have more than one, list here:
                                                                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
       4.2.     Make:       ____________________________

                Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
                Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                                  Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
                Other information:                                                At least one of the debtors and another
                                                                                                                                                            $________________                $________________
                                                                                   Check if this is community property (see
                                                                                      instructions)




    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      30,668.00
                                                                                                                                                                                            $_________________
       you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                       3      10
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    Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                       Current value of the
    Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
    6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                       or exemptions.
       Examples: Major appliances, furniture, linens, china, kitchenware
                                 Furniture and furnishings
        No
       
       ✔ Yes. Describe. ........


                                                                                                                                                                                                          1,200.00
                                                                                                                                                                                                        $___________________

    7. Electronics

       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games
        No                     Miscellaneous Electronic Items
       
       ✔ Yes. Describe. ........                                                                                                                                                                          900.00
                                                                                                                                                                                                        $___________________

    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       
       ✔ No

        Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                        $___________________

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments
       
       ✔    No
           Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                        $___________________

    10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       
       ✔ No

        Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                        $___________________

    11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No                   Wardrobe
       
       ✔    Yes. Describe. .........                                                                                                                                                                      300.00
                                                                                                                                                                                                        $___________________


    12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                 gold, silver
           No                       Miscellaneous Jewelry
       
       ✔    Yes. Describe. .........                                                                                                                                                                      200.00
                                                                                                                                                                                                        $___________________

    13. Non-farm animals
       Examples: Dogs, cats, birds, horses

       
       ✔    No
           Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                        $___________________

    14. Any other personal and household items you did not already list, including any health aids you did not list

       
       ✔    No
           Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                        $___________________
            information...............

    15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        2,600.00
                                                                                                                                                                                                        $______________________
       for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                        4      10
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    Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

    Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                                       or exemptions.


    16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

          No
       
       ✔   Yes .....................................................................................................................................................................   Cash: .......................      10.00
                                                                                                                                                                                                                        $__________________



    17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
       
       ✔   Yes .....................                 Institution name:


       17.1. Checking account:
                                                     Safe1                                                                                8.00
                                                     ___________________________________________________________________________________ $__________________

       17.2. Checking account:                       ___________________________________________________________________________________ $__________________
                                                     Safe1                                                                                10.00
       17.3. Savings account:                        ___________________________________________________________________________________ $__________________

       17.4. Savings account:                        ___________________________________________________________________________________ $__________________

       17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
       17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                        $__________________
       17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                        $__________________
       17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                        $__________________
       17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                        $__________________




    18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       
       ✔   No
          Yes ..................
       Institution or issuer name:
                                                                                                                                                                                                                        $__________________
       ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                        $__________________
                                                                                                                                                                                                                        $__________________
       ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                        $__________________
       ___________________________________________________________________________________________________________________                                                                                              $__________________



    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
       
       ✔ No

        Yes. Give specific
           information about                                                                                                                                                                                            $__________________
           them. ........................
                                                                                                                                                                                                                        $__________________
      Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                        $__________________
                                                                                                                                                                                                                        $__________________
      _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                        $__________________
      _____________________________________________________________________________________________________                                                                                       ___________%

      _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                             10
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    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        
        ✔ No

         Yes. Give specific
             information about
             them. ......................
        Issuer name:

        ___________________________________________________________________________________________________________________
                                                                                                                                           $__________________

        ___________________________________________________________________________________________________________________ $__________________

        ________________________________________________________________________________________________________________ $__________________

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
       
       ✔ Yes. List each

             account separately.                Institution name:
             Type of account:

     401(k) or similar plan:           Newport Group Investments
                                       _________________________________________________________________________________________________
                                                                                                                                               10,000.00
                                                                                                                                           $__________________
                                                                                                                                           $__________________
     Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                         $__________________

     IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                         $__________________
     Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                           $_________________
     Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                         $__________________

     Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                         $__________________
     Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                         $__________________

    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
        companies, or others

        
        ✔    No
            Yes ...........................    Institution name or individual:

    Electric:                  ____________________________________________________________________________________________________
                                                                                                                                           $___________________

    Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                           $___________________

    Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                           $___________________

    Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                           $___________________

    Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                           $___________________

    Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                           $___________________

    Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                           $___________________

    Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                    $___________________

    Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                                 $___________________

                                                                                                                                           $__________________
                                                                                                                                           _
    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

        
        ✔    No
            Yes ...........................   Issuer name and description:
    _____________________________________________________________________________________________________________________                  $__________________

    _____________________________________________________________________________________________________________________                  $__________________
    _____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                           $__________________
                                                                                                                                           $__________________
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    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       
       ✔   No
          Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

       ____________________________________________________________________________________________________________________                                 $_________________
       ____________________________________________________________________________________________________________________                                 $_________________
       ____________________________________________________________________________________________________________________                                 $_________________


    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit

       
       ✔   No
          Yes. Give specific
           information about them. ..                                                                                                                        0.00
                                                                                                                                                            $__________________


    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       
       ✔   No
          Yes. Give specific
           information about them. ..                                                                                                                        0.00
                                                                                                                                                            $__________________


    27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       
       ✔   No
          Yes. Give specific
           information about them. ..                                                                                                                        0.00
                                                                                                                                                            $__________________


    Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

    28. Tax refunds owed to you

       
       ✔   No
          Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                        $_________________
                about them, including whether
                you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                        $_________________
                and the tax years. ......................                                                                                                0.00
                                                                                                                                  Local:                $_________________


    29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       
       ✔   No
          Yes. Give specific information. .............
                                                                                                                                 Alimony:                    0.00
                                                                                                                                                            $________________
                                                                                                                                 Maintenance:                0.00
                                                                                                                                                            $________________
                                                                                                                                 Support:                    0.00
                                                                                                                                                            $________________
                                                                                                                                 Divorce settlement:         0.00
                                                                                                                                                            $________________
                                                                                                                                 Property settlement:        0.00
                                                                                                                                                            $________________

    30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else
       
       ✔   No
          Yes. Give specific information. ...............
                                                                                                                                                              0.00
                                                                                                                                                            $______________________



                                                                                                                                                                           7     10
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    31. Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       
       ✔    No
           Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
                 of each policy and list its value. ...
          ____________________________________________________________________________                                                             ____________________________                          $__________________
          ____________________________________________________________________________                                                             ____________________________                          $__________________
          ____________________________________________________________________________                                                               ___________________________                         $__________________

    32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
       
       ✔    No
           Yes. Give specific information. .............
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                         $_____________________


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
       
       ✔    No
           Yes. Describe each claim. .....................
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                         $______________________

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims
       
       ✔    No
           Yes. Describe each claim. .....................
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                         $_____________________




    35. Any financial assets you did not already list

       
       ✔    No
           Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                         $_____________________



    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here ........................................................................................................................................................       10,028.00
                                                                                                                                                                                                         $_____________________




    Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

    37. Do you own or have any legal or equitable interest in any business-related property?

       
       ✔    No. Go to Part 6.
           Yes. Go to line 38.
                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                       or exemptions.

    38. Accounts receivable or commissions you already earned

           No
           Yes. Describe .......
                                                                                                                                                                                                       $_____________________

    39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

           No
           Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                             10
                                                                                                                                                                                                                        8 of __
                                                                                                                                                                                                                   page ___
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    40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe .......
                                                                                                                                                                                                       $_____________________


    41. Inventory
           No
           Yes. Describe .......                                                                                                                                                                      $_____________________


    42. Interests in partnerships or joint ventures

           No
           Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                              ______________________________________________________________________                                                      ________%                    $_____________________
                                              ______________________________________________________________________                                                      ________%                    $_____________________
                                              ______________________________________________________________________                                                      ________%                    $_____________________


    43. Customer lists, mailing lists, or other compilations
           No
           Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                         No
                         Yes. Describe.........
                                                                                                                                                                                                       $____________________


    44. Any business-related property you did not already list
           No
           Yes. Give specific
                                  ______________________________________________________________________________________                                                                               $____________________
            information .........
                                              ______________________________________________________________________________________                                                                    $____________________

                                              ______________________________________________________________________________________                                                                    $____________________

                                              ______________________________________________________________________________________                                                                    $____________________

                                              ______________________________________________________________________________________                                                                    $____________________

                                              ______________________________________________________________________________________                                                                    $____________________

    45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                       $____________________
       for Part 5. Write that number here ........................................................................................................................................................ 




    Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                     If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       
       ✔    No. Go to Part 7.
           Yes. Go to line 47.
                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                       or exemptions.
    47. Farm animals
       Examples: Livestock, poultry, farm-raised fish
           No
           Yes ...........................

                                                                                                                                                                                                         $___________________



                                                                                                                                                                                                                            10
                                                                                                                                                                                                                       9 of __
                                                                                                                                                                                                                  page ___
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    48. Crops—either growing or harvested

              No
              Yes. Give specific
               information. ............                                                                                                                                                                           $___________________

    49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
              No
              Yes ...........................
                                                                                                                                                                                                                   $___________________

    50. Farm and fishing supplies, chemicals, and feed

              No
              Yes ...........................
                                                                                                                                                                                                                   $___________________

    51. Any farm- and commercial fishing-related property you did not already list
              No
              Yes. Give specific
               information. ............                                                                                                                                                                           $___________________

    52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                                   $___________________
         for Part 6. Write that number here ........................................................................................................................................................ 



    Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

              No                                Solar Panels
         
         ✔     Yes. Give specific
               information. ............




    54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                      15,000.00
                                                                                                                                                                                                                     $________________




    Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


    55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                    205,867.00
                                                                                                                                                                                                                   $________________

    56. Part 2: Total vehicles, line 5                                                                                    30,668.00
                                                                                                                         $________________

    57. Part 3: Total personal and household items, line 15                                                               2,600.00
                                                                                                                         $________________

    58. Part 4: Total financial assets, line 36                                                                           10,028.00
                                                                                                                         $________________

    59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                         $________________

    60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                         $________________

    61. Part 7: Total other property not listed, line 54                                                               15,000.00
                                                                                                                    + $________________
    62. Total personal property. Add lines 56 through 61. ...................                                             58,296.00
                                                                                                                         $________________ Copy personal property total                                              58,296.00
                                                                                                                                                                                                                  + $_________________


    63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       264,163.00
                                                                                                                                                                                                                   $_________________



                                                                                                                                                                                                                                      10
                                                                                                                                                                                                                                10 of __
                                                                                                                                                                                                                           page ___
Filed 05/12/19                                                                 Case 19-12023                                                                                         Doc 1

     Fill in this information to identify your case:

                          Oscar Antonio Uribe
      Debtor 1          __________________________________________________________________
                          First Name                  Middle Name               Last Name

      Debtor 2            Elizabeth Uribe
                          ________________________________________________________________
      (Spouse, if filing) First Name                  Middle Name               Last Name


                                              ______________________
      United States Bankruptcy Court for the: Eastern District of California District of __________
                                                                                             (State)
      Case number
      (If known)
                          ___________________________________________                                                                                       Check if this is an
                                                                                                                                                               amended filing


    Official Form 106C
    Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                  4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
    Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
    space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
    your name and case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
    of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
    retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
    limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
    would be limited to the applicable statutory amount.


     Pa rt 1 :        I de nt ify the Prope rt y You Cla im a s Ex e mpt


     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
          
          ✔ You are claiming state and federal nonbankruptcy exemptions.                    11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


            Brief description of the property and line on           Current value of the                      Amount of the                  Specific laws that allow exemption
            Schedule A/B that lists this property                   portion you own                           exemption you claim

                                                                    Copy the value from                       Check only one box
                                                                    Schedule A/B                              for each exemption
                      406 Calderdale Dr.                                                                                                     Cal. Civ. Proc. Code § 704.730 (a)(2)
     Brief
     description:
                                                                            205,867.00
                                                                           $________________              100,000.00
                                                                                                       ✔ $ ____________

                                                                                                         100% of fair market value, up to
     Line from                                                                                              any applicable statutory limit
     Schedule A/B:         1.1
                      1998 Acura Integra                                                                                                     Cal. Civ. Proc. Code § 704.010
     Brief
     description:
                                                                             500.00
                                                                           $________________            $ ____________
                                                                                                        ✔  500.00
                                                                                                         100% of fair market value, up to
     Line from                                                                                              any applicable statutory limit
     Schedule A/B:          3.3
                      2006 Chevrolet Silverado 1500                                                                                          Cal. Civ. Proc. Code § 704.010
     Brief
     description:
                                                                             1,100.00
                                                                           $________________              1,100.00
                                                                                                       ✔ $ ____________

                                                                                                         100% of fair market value, up to
     Line from                                                                                              any applicable statutory limit
     Schedule A/B:            3.4

     3. Are you claiming a homestead exemption of more than $170,350?
          (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          
          ✔     No
               Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes



    Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                                     page 1 of __
Filed 05/12/19                                                               Case 19-12023                                                                                   Doc 1
    Debtor           Oscar Antonio Uribe
                     _______________________________________________________                            Case number (if known)_____________________________________
                     First Name      Middle Name          Last Name




      Pa rt 2 :     Addit iona l Pa ge

                description of the property and line
             Brief                                                                                 Amount of the                       Specific laws that allow exemption
                                                                            Current value of the   exemption you claim
             on Schedule A/B that lists this property                       portion you own
                                                                           Copy the value from    Check only one box
                                                                            Schedule A/B           for each exemption
                    Household goods - Furniture and furnishings                                                                         Cal. Civ. Proc. Code § 704.020
     Brief
     description:
                                                                              1,200.00
                                                                             $________________        1,200.00
                                                                                                   ✔ $ ____________

                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:         6
                    Electronics - Miscellaneous Electronic Items                                                                        Cal. Civ. Proc. Code § 704.020
     Brief
     description:                                                            $________________
                                                                              900.00               
                                                                                                   ✔ $ ____________
                                                                                                       900.00
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
     Line from
     Schedule A/B:         7
                    Clothing - Wardrobe                                                                                                 Cal. Civ. Proc. Code § 704.020
     Brief
     description:                                                            $________________
                                                                              300.00               
                                                                                                   ✔ $ ____________
                                                                                                       300.00
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:         11
                    Jewelry - Miscellaneous Jewelry                                                                                     Cal. Civ. Proc. Code § 704.040
     Brief
     description:
                                                                              200.00
                                                                             $________________        200.00
                                                                                                   ✔ $ ____________

                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:        12
                    Newport Group Investments                                                                                           Cal. Civ. Proc. Code § 704.115
     Brief
     description:
                                                                              10,000.00
                                                                             $________________        10,000.00
                                                                                                   ✔ $ ____________

                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:           21

     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
     Line from
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
     Line from
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:


      Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                2
                                                                                                                                                         page ___ of __  2
Filed 05/12/19                                                                     Case 19-12023                                                                                  Doc 1

     Fill in this information to identify your case:

                         Oscar Antonio Uribe
     Debtor 1          __________________________________________________________________
                         First Name                  Middle Name                  Last Name

     Debtor 2            Elizabeth Uribe
                         ________________________________________________________________
     (Spouse, if filing) First Name                  Middle Name                  Last Name


                                             ______________________
     United States Bankruptcy Court for the: Eastern District of California District of __________
                                                                                              (State)
     Case number         ___________________________________________
     (If known)                                                                                                                                            Check if this is an
                                                                                                                                                              amended filing


    Official Form 106D
    Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
    additional pages, write your name and case number (if known).

    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        
        ✔       Yes. Fill in all of the information below.


    Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                              Column A             Column B              Column C
    2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                        Value of collateral   Unsecured
       for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                     that supports this    portion
       As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                  claim                 If any

    2.1 Ally Financial                                        Describe the property that secures the claim:                    29,768.00
                                                                                                                              $_________________   27,768.00
                                                                                                                                                 $________________  2,000.00
                                                                                                                                                                   $____________
         ______________________________________               2017 Chevrolet Acadia - $27,768.00
         Creditor’s Name
         200 Renaissance Ctr
         ______________________________________
         Number            Street

         ______________________________________               As of the date you file, the claim is: Check all that apply.
          Detroit               MI    48243
         ______________________________________
                                                                  Contingent
         City                          State   ZIP Code           Unliquidated
      Who owes the debt? Check one.                               Disputed
          Debtor 1 only                                      Nature of lien. Check all that apply.
          Debtor 2 only
                                                              
                                                              ✔    An agreement you made (such as mortgage or secured
      
      ✔    Debtor 1 and Debtor 2 only                              car loan)
          At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

        Check if this claim relates to a
                                                                  Judgment lien from a lawsuit
         community debt                                           Other (including a right to offset) ____________________
                                2017
      Date debt was incurred ____________                     Last 4 digits of account number           2307
    2.2 Nationstar/Mr Cooper                                  Describe the property that secures the claim:                    153,519.00
                                                                                                                              $_________________                   0.00
                                                                                                                                                   205,867.00 $____________
                                                                                                                                                 $________________
         ______________________________________               406 Calderdale Dr., Bakersfield, CA 93307 - $205,867.00
         Creditor’s Name
          8950 Cypress Waters Blvd
         ______________________________________
         Number            Street

         ______________________________________
                                                              As of the date you file, the claim is: Check all that apply.
          Coppell                      TX
         ______________________________________
                                               75019              Contingent
         City                          State   ZIP Code           Unliquidated
      Who owes the debt? Check one.                               Disputed
          Debtor 1 only                                      Nature of lien. Check all that apply.
          Debtor 2 only
                                                              
                                                              ✔    An agreement you made (such as mortgage or secured
      
      ✔    Debtor 1 and Debtor 2 only                              car loan)
          At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

        Check if this claim relates to a                         Judgment lien from a lawsuit
         community debt                                           Other (including a right to offset) ____________________
                                2015
      Date debt was incurred ____________                     Last 4 digits of account number           1163
         Add the dollar value of your entries in Column A on this page. Write that number here:                               $_________________
                                                                                                                                183,287.00

       Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of ___
                                                                                                                                                                           2
Filed 05/12/19                                                                Case 19-12023                                                                                     Doc 1
    Debtor 1        Oscar Antonio Uribe
                     _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name      Middle Name         Last Name




                  Addit iona l Pa ge                                                                                      Column A               Column B              Column C
    Pa rt 1 :                                                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                          Do not deduct the
                  by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
   2.3    Torres Auto Sales                               Describe the property that secures the claim:               3,000.00
                                                                                                                   $__________________    1,300.00
                                                                                                                                       $_________________   1,700.00
                                                                                                                                                          $________________

         ______________________________________           2005 Acura MDX - $1,300.00
         Creditor’s Name
          2590 S. Union Ave
         ______________________________________
         Number            Street

         ______________________________________
                                                          As of the date you file, the claim is: Check all that apply.
          Bakersfield           CA 93307
         ______________________________________              Contingent
         City                        State     ZIP Code
                                                             Unliquidated
      Who owes the debt? Check one.                          Disputed
           Debtor 1 only
                                                          Nature of lien. Check all that apply.
           Debtor 2 only
      
      ✔     Debtor 1 and Debtor 2 only
                                                          
                                                          ✔   An agreement you made (such as mortgage or secured
                                                              car loan)
           At least one of the debtors and another
                                                             Statutory lien (such as tax lien, mechanic’s lien)
          Check if this claim relates to a                  Judgment lien from a lawsuit
           community debt                                    Other (including a right to offset) ____________________

      Date debt was incurred ____________                 Last 4 digits of account number


                                                          Describe the property that secures the claim:         $__________________ $_________________ $_________________
         _____________________________________
         Creditor’s Name

         ______________________________________
         Number            Street

         ______________________________________           As of the date you file, the claim is: Check all that apply.
         ______________________________________               Contingent
         City                         State    ZIP Code       Unliquidated
      Who owes the debt? Check one.
                                                              Disputed
          Debtor 1 only
                                                          Nature of lien. Check all that apply.
          Debtor 2 only
          Debtor 1 and Debtor 2 only                      An agreement you made (such as mortgage or secured
                                                          car loan)
          At least one of the debtors and another
                                                           Statutory lien (such as tax lien, mechanic’s lien)
          Check if this claim relates to a                   Judgment lien from a lawsuit
           community debt
                                                              Other (including a right to offset) ____________________
      Date debt was incurred ____________                 Last 4 digits of account number


                                                          Describe the property that secures the claim:           $__________________ $_________________ $________________
         _____________________________________
         Creditor’s Name

         _____________________________________
         Number            Street

         _____________________________________

         ______________________________________           As of the date you file, the claim is: Check all that apply.
         City                         State    ZIP Code
                                                             Contingent

      Who owes the debt? Check one.
                                                             Unliquidated
                                                             Disputed
           Debtor 1 only
           Debtor 2 only
                                                          Nature of lien. Check all that apply.
           Debtor 1 and Debtor 2 only                       An agreement you made (such as mortgage or secured
           At least one of the debtors and another           car loan)
                                                             Statutory lien (such as tax lien, mechanic’s lien)
          Check if this claim relates to a                  Judgment lien from a lawsuit
           community debt                                    Other (including a right to offset) ____________________
      Date debt was incurred ____________                 Last 4 digits of account number

                Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                         3,000.00
                If this is the last page of your form, add the dollar value totals from all pages.                          186,287.00
                Write that number here:                                                                                   $_________________

       Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                    2 of ___
                                                                                                                                                                         2
Filed 05/12/19                                                                      Case 19-12023                                                                                 Doc 1
      Fill in this information to identify your case:

                               Oscar Antonio Uribe
          Debtor 1           __________________________________________________________________
                              First Name                    Middle Name              Last Name

          Debtor 2            Elizabeth Uribe
                              ________________________________________________________________
          (Spouse, if filing) First Name                    Middle Name              Last Name


          United States Bankruptcy Court for the: ______________________
                                                  Eastern District of California District of __________
                                                                                                 (State)
          Case number         ___________________________________________
                                                                                                                                                             Check if this is an
          (If known)                                                                                                                                            amended filing


     Official Form 106E/F
     Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                         12/15

     Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
     List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
     A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
     creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
     needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
     any additional pages, write your name and case number (if known).

     Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s

     1. Do any creditors have priority unsecured claims against you?
             
             ✔ No. Go to Part 2.

              Yes.
     2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
             each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
             nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
             unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
             (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                            Total claim    Priority     Nonpriority
                                                                                                                                                           amount       amount
    2.1
                                                                            Last 4 digits of account number                            $_____________ $___________ $____________
               ____________________________________________
               Priority Creditor’s Name
                                                                            When was the debt incurred?          ____________
               ____________________________________________
               Number            Street
               ____________________________________________                 As of the date you file, the claim is: Check all that apply.
               ____________________________________________                    Contingent
               City                                 State    ZIP Code
                                                                               Unliquidated
               Who incurred the debt? Check one.                               Disputed
                     Debtor 1 only                                         Type of PRIORITY unsecured claim:
                     Debtor 2 only                                            Domestic support obligations
                     Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                     At least one of the debtors and another
                                                                               Claims for death or personal injury while you were
                     Check if this claim is for a community debt               intoxicated
                                                                               Other. Specify
               Is the claim subject to offset?
                     No
                     Yes
    2.2
                                                                            Last 4 digits of account number                                $_____________ $___________ $____________
                ____________________________________________
                Priority Creditor’s Name                                    When was the debt incurred?          ____________
                ____________________________________________
                Number           Street                                     As of the date you file, the claim is: Check all that apply.
                ____________________________________________                   Contingent
                ____________________________________________                   Unliquidated
                City                                State    ZIP Code
                                                                               Disputed
                Who incurred the debt? Check one.
                      Debtor 1 only                                        Type of PRIORITY unsecured claim:
                      Debtor 2 only                                           Domestic support obligations
                      Debtor 1 and Debtor 2 only                              Taxes and certain other debts you owe the government
                      At least one of the debtors and another
                                                                               Claims for death or personal injury while you were
                      Check if this claim is for a community debt              intoxicated
                                                                               Other. Specify
               Is the claim subject to offset?
                      No
                      Yes

     Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                                                                                                                                                                            12
FiledDebtor
      05/12/19
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               Oscar Antonio Uribe                          Case 19-12023
              _______________________________________________________                                         Case number (if known)_____________________________________
                                                                                                                                                                                 Doc 1
                          First Name       Middle Name           Last Name


     Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           
           ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
           claims fill out the Continuation Page of Part 2.

              Capital One Bank Usa N                                                                                                                               Total claim
    4.1
                                                                                         Last 4 digits of account number       ****
             _____________________________________________________________                                                                                         532.00
                                                                                                                                                                 $__________________
             Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           2012
                                                                                                                               ____________
              15000 Capital One Dr
             _____________________________________________________________
             Number            Street

             _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
             Richmond                            VA       23238
             _____________________________________________________________                  Contingent
             City                                             State          ZIP Code
                                                                                            Unliquidated
             Who incurred the debt? Check one.                                              Disputed
             
             ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
                   Debtor 2 only
                   Debtor 1 and Debtor 2 only                                              Student loans
                   At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

             Is the claim subject to offset?
                                                                                         
                                                                                         ✔   Other. Specify

             
             ✔      No
                   Yes
    4.2
             Capital One, N.A.                                                           Last 4 digits of account number       ****                               1,438.00
                                                                                                                                                                 $__________________
             _____________________________________________________________               When was the debt incurred?           ____________
                                                                                                                               2011
             Nonpriority Creditor’s Name
             Po Box 26625
             _____________________________________________________________
             Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             _______________________________________________________________________
              Richmond                                        VA
                                                          23261
                                                                                            Contingent
             _____________________________________________________________                  Unliquidated
             City                                             State          ZIP Code
             Who incurred the debt? Check one.                                              Disputed
             
             ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
                   Debtor 2 only
                                                                                            Student loans
                   Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
                   At least one of the debtors and another                                  that you did not report as priority claims

                   Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
             Is the claim subject to offset?
             
             ✔      No
                   Yes
              Cmre. 877 572 7555
    4.3
                                                                                         Last 4 digits of account number       8866
             _____________________________________________________________                                                                                        127.00
                                                                                                                                                                 $_________________
             Nonpriority Creditor’s Name                                                 When was the debt incurred?           2018
                                                                                                                               ____________
             3075 E Imperial Hwy Ste
             _____________________________________________________________
             Number            Street

             _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
             Brea                                CA       92821
             _____________________________________________________________                  Contingent
             City                                             State          ZIP Code
             Who incurred the debt? Check one.                                              Unliquidated

                   Debtor 1 only
                                                                                            Disputed

             
             ✔      Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                   Debtor 1 and Debtor 2 only                                              Student loans
                   At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

             Is the claim subject to offset?                                             
                                                                                         ✔   Other. Specify

             
             ✔ No

                   Yes


          Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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      05/12/19
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               Oscar Antonio Uribe                          Case 19-12023
              _______________________________________________________                                        Case number (if known)_____________________________________
                                                                                                                                                                                Doc 1
                         First Name       Middle Name           Last Name


     Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          
          ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
          nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
          included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
          claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
    4.4     Commercial Trade Inc
           _____________________________________________________________                Last 4 digits of account number       3585
           Nonpriority Creditor’s Name                                                                                                                            249.00
                                                                                                                                                                $__________________
            Po Box 10389                                                                When was the debt incurred?           2014
                                                                                                                              ____________
           _____________________________________________________________
           Number             Street

           _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
            Bakersfield                                      CA
           _____________________________________________________________
                                                                            93389
           City                                              State          ZIP Code       Contingent
                                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                                           Disputed
                  Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
           
           ✔       Debtor 2 only
                                                                                           Student loans
                  Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
                  At least one of the debtors and another                                  that you did not report as priority claims

                  Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes
    4.5     Commercial Trade Inc                                                        Last 4 digits of account number       1664                               851.00
                                                                                                                                                                $__________________
           _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                              2013
           Nonpriority Creditor’s Name
            Po Box 10389
           _____________________________________________________________
           Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
           _______________________________________________________________________
           Bakersfield                         CA       93389                              Contingent
           _____________________________________________________________
           City                                              State          ZIP Code       Unliquidated
           Who incurred the debt? Check one.                                               Disputed
                  Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
                  Debtor 2 only
           
           ✔       Debtor 1 and Debtor 2 only
                                                                                           Student loans

                  At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
                  Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes
    4.6     Commercial Trade Inc                                                        Last 4 digits of account number       9611
            _____________________________________________________________                                                                                        442.00
                                                                                                                                                                $_________________
            Nonpriority Creditor’s Name                                                 When was the debt incurred?           2015
                                                                                                                              ____________
            Po Box 10389
            _____________________________________________________________
            Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
            _______________________________________________________________________
            Bakersfield                         CA       93389
            _____________________________________________________________                  Contingent
            City                                             State           ZIP Code
            Who incurred the debt? Check one.                                              Unliquidated

                  Debtor 1 only
                                                                                           Disputed

           
           ✔       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only                                              Student loans
                  At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
                  Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                              
                                                                                        ✔   Other. Specify
           
           ✔       No
                  Yes


       Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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               Oscar Antonio Uribe                          Case 19-12023
              _______________________________________________________                                        Case number (if known)_____________________________________
                                                                                                                                                                                Doc 1
                         First Name       Middle Name           Last Name


     Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          
          ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
          nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
          included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
          claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
    4.7     Crdtonebnk
           _____________________________________________________________                Last 4 digits of account number       0792
           Nonpriority Creditor’s Name                                                                                                                            1,141.00
                                                                                                                                                                $__________________
            585 S. Pilot Street                                                         When was the debt incurred?           2016
                                                                                                                              ____________
           _____________________________________________________________
           Number             Street

           _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
            Las Vegas                                        NV
           _____________________________________________________________
                                                                            89119
           City                                              State          ZIP Code       Contingent
                                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                                           Disputed
           
           ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
                  Debtor 2 only
                                                                                           Student loans
                  Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
                  At least one of the debtors and another                                  that you did not report as priority claims

                  Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes
    4.8     Credit One Bank Na                                                          Last 4 digits of account number       8842                               1,037.00
                                                                                                                                                                $__________________
           _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                              2015
           Nonpriority Creditor’s Name
            Po Box 98875
           _____________________________________________________________
           Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
           _______________________________________________________________________
           Las Vegas                           NV       89193                              Contingent
           _____________________________________________________________
           City                                              State          ZIP Code       Unliquidated
           Who incurred the debt? Check one.                                               Disputed
           
           ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
                  Debtor 2 only
                  Debtor 1 and Debtor 2 only
                                                                                           Student loans

                  At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
                  Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes
    4.9     Creditonebnk                                                                Last 4 digits of account number       ****
            _____________________________________________________________                                                                                        1,141.00
                                                                                                                                                                $_________________
            Nonpriority Creditor’s Name                                                 When was the debt incurred?           2016
                                                                                                                              ____________
            Po Box 98872
            _____________________________________________________________
            Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
            _______________________________________________________________________
            Las Vegas                           NV       89193
            _____________________________________________________________                  Contingent
            City                                             State           ZIP Code
            Who incurred the debt? Check one.                                              Unliquidated

           
           ✔       Debtor 1 only
                                                                                           Disputed

                  Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only                                              Student loans
                  At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
                  Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                              
                                                                                        ✔   Other. Specify
           
           ✔       No
                  Yes


       Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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               Oscar Antonio Uribe                          Case 19-12023
              _______________________________________________________                                         Case number (if known)_____________________________________
                                                                                                                                                                                 Doc 1
                          First Name       Middle Name           Last Name


     Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           
           ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
           claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
    4.10 Desgn Rec                                                                                                             8362
            _____________________________________________________________                Last 4 digits of account number
            Nonpriority Creditor’s Name                                                                                                                            250.00
                                                                                                                                                                 $__________________
             1 Centerpointe Dri Suite 450                                                When was the debt incurred?           2014
                                                                                                                               ____________
            _____________________________________________________________
            Number             Street

            _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
             La Palma                                         CA
            _____________________________________________________________
                                                                             90623
            City                                              State          ZIP Code       Contingent
                                                                                            Unliquidated
            Who incurred the debt? Check one.
                                                                                            Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                                                                                            Student loans
                   Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
                   At least one of the debtors and another                                  that you did not report as priority claims

                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.11 Desgn Rec                                                                       Last 4 digits of account number       8355                               297.00
                                                                                                                                                                 $__________________
            _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                               2014
            Nonpriority Creditor’s Name
             1 Centerpointe Dri Suite 450
            _____________________________________________________________
            Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
            _______________________________________________________________________
            La Palma                            CA       90623                              Contingent
            _____________________________________________________________
            City                                              State          ZIP Code       Unliquidated
            Who incurred the debt? Check one.                                               Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                   Debtor 1 and Debtor 2 only
                                                                                            Student loans

                   At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.12     Edfinancial Services L                                                      Last 4 digits of account number       1349
             _____________________________________________________________                                                                                        5,978.00
                                                                                                                                                                 $_________________
             Nonpriority Creditor’s Name                                                 When was the debt incurred?           2017
                                                                                                                               ____________
             120 N Seven Oaks Dr
             _____________________________________________________________
             Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             _______________________________________________________________________
             Knoxville                           TN       37922
             _____________________________________________________________                  Contingent
             City                                             State           ZIP Code
             Who incurred the debt? Check one.                                              Unliquidated

                   Debtor 1 only
                                                                                            Disputed

            
            ✔       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                   Debtor 1 and Debtor 2 only                                              Student loans
                   At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              
                                                                                         ✔   Other. Specify
            
            ✔       No
                   Yes


       Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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               Oscar Antonio Uribe                          Case 19-12023
              _______________________________________________________                                         Case number (if known)_____________________________________
                                                                                                                                                                                 Doc 1
                          First Name       Middle Name           Last Name


     Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           
           ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
           claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
    4.13 Edfinancial Services L                                                                                                1249
            _____________________________________________________________                Last 4 digits of account number
            Nonpriority Creditor’s Name                                                                                                                            3,376.00
                                                                                                                                                                 $__________________
             120 N Seven Oaks Dr                                                         When was the debt incurred?           2017
                                                                                                                               ____________
            _____________________________________________________________
            Number             Street

            _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
             Knoxville                                        TN
            _____________________________________________________________
                                                                             37922
            City                                              State          ZIP Code       Contingent
                                                                                            Unliquidated
            Who incurred the debt? Check one.
                                                                                            Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                                                                                            Student loans
                   Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
                   At least one of the debtors and another                                  that you did not report as priority claims

                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.14 Enhanced Recovery Co L                                                          Last 4 digits of account number       1***                               2,474.00
                                                                                                                                                                 $__________________
            _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                               2016
            Nonpriority Creditor’s Name
             8014 Bayberry Rd
            _____________________________________________________________
            Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
            _______________________________________________________________________
            Jacksonville                        FL       32256                              Contingent
            _____________________________________________________________
            City                                              State          ZIP Code       Unliquidated
            Who incurred the debt? Check one.                                               Disputed
            
            ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
                   Debtor 2 only
                   Debtor 1 and Debtor 2 only
                                                                                            Student loans

                   At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.15     Grant & Weber                                                               Last 4 digits of account number       5923
             _____________________________________________________________                                                                                        159.00
                                                                                                                                                                 $_________________
             Nonpriority Creditor’s Name                                                 When was the debt incurred?           2013
                                                                                                                               ____________
             26610 West Agoura Rd Ste
             _____________________________________________________________
             Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             _______________________________________________________________________
             Calabasas                           CA       91302
             _____________________________________________________________                  Contingent
             City                                             State           ZIP Code
             Who incurred the debt? Check one.                                              Unliquidated

                   Debtor 1 only
                                                                                            Disputed

            
            ✔       Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                   Debtor 1 and Debtor 2 only                                              Student loans
                   At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              
                                                                                         ✔   Other. Specify
            
            ✔       No
                   Yes


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                                                                                                                                                                                 Doc 1
                          First Name       Middle Name           Last Name


     Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           
           ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
           claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
    4.16 Grant & Weber                                                                                                         7050
            _____________________________________________________________                Last 4 digits of account number
            Nonpriority Creditor’s Name                                                                                                                            1,861.00
                                                                                                                                                                 $__________________
             26610 West Agoura Rd Ste                                                    When was the debt incurred?           2013
                                                                                                                               ____________
            _____________________________________________________________
            Number             Street

            _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
             Calabasas                                        CA
            _____________________________________________________________
                                                                             91302
            City                                              State          ZIP Code       Contingent
                                                                                            Unliquidated
            Who incurred the debt? Check one.
                                                                                            Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                                                                                            Student loans
                   Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
                   At least one of the debtors and another                                  that you did not report as priority claims

                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.17 Grant & Weber                                                                   Last 4 digits of account number       4540                               158.00
                                                                                                                                                                 $__________________
            _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                               2013
            Nonpriority Creditor’s Name
             26610 West Agoura Rd Ste
            _____________________________________________________________
            Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
            _______________________________________________________________________
            Calabasas                           CA       91302                              Contingent
            _____________________________________________________________
            City                                              State          ZIP Code       Unliquidated
            Who incurred the debt? Check one.                                               Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                   Debtor 1 and Debtor 2 only
                                                                                            Student loans

                   At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.18     Kohls/Capone                                                                Last 4 digits of account number       6569
             _____________________________________________________________                                                                                        1,326.00
                                                                                                                                                                 $_________________
             Nonpriority Creditor’s Name                                                 When was the debt incurred?           2011
                                                                                                                               ____________
             N56 W 17000 Ridgewood Dr
             _____________________________________________________________
             Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             _______________________________________________________________________
             Menomonee Falls                     WI       53051
             _____________________________________________________________                  Contingent
             City                                             State           ZIP Code
             Who incurred the debt? Check one.                                              Unliquidated

                   Debtor 1 only
                                                                                            Disputed

                   Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 1 and Debtor 2 only                                              Student loans
                   At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              
                                                                                         ✔   Other. Specify
            
            ✔       No
                   Yes


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                                                                                                                                                                                 Doc 1
                          First Name       Middle Name           Last Name


     Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           
           ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
           claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
    4.19 Kohls/Capone                                                                                                          2845
            _____________________________________________________________                Last 4 digits of account number
            Nonpriority Creditor’s Name                                                                                                                            313.00
                                                                                                                                                                 $__________________
             N56 W 17000 Ridgewood Dr                                                    When was the debt incurred?           2013
                                                                                                                               ____________
            _____________________________________________________________
            Number             Street

            _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
             Menomonee Falls                                  WI
            _____________________________________________________________
                                                                             53051
            City                                              State          ZIP Code       Contingent
                                                                                            Unliquidated
            Who incurred the debt? Check one.
                                                                                            Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                                                                                            Student loans
                   Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
                   At least one of the debtors and another                                  that you did not report as priority claims

                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.20 Lvnv Funding Llc                                                                Last 4 digits of account number       0792                               1,141.00
                                                                                                                                                                 $__________________
            _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                               2018
            Nonpriority Creditor’s Name
             Po Box 1269
            _____________________________________________________________
            Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
            _______________________________________________________________________
            Greenville                          SC       29602                              Contingent
            _____________________________________________________________
            City                                              State          ZIP Code       Unliquidated
            Who incurred the debt? Check one.                                               Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                   Debtor 1 and Debtor 2 only
                                                                                            Student loans

                   At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.21     Merrick                                                                     Last 4 digits of account number       2646
             _____________________________________________________________                                                                                        947.00
                                                                                                                                                                 $_________________
             Nonpriority Creditor’s Name                                                 When was the debt incurred?           2017
                                                                                                                               ____________
             PO BOX 171379
             _____________________________________________________________
             Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             _______________________________________________________________________
             Salt Lake City                      UT       84117
             _____________________________________________________________                  Contingent
             City                                             State           ZIP Code
             Who incurred the debt? Check one.                                              Unliquidated

            
            ✔       Debtor 1 only
                                                                                            Disputed

                   Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                   Debtor 1 and Debtor 2 only                                              Student loans
                   At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              
                                                                                         ✔   Other. Specify
            
            ✔       No
                   Yes


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                                                                                                                                                                                 Doc 1
                          First Name       Middle Name           Last Name


     Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           
           ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
           claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
    4.22 Portfolio Recov Assoc                                                                                                 4059
            _____________________________________________________________                Last 4 digits of account number
            Nonpriority Creditor’s Name                                                                                                                            2,734.00
                                                                                                                                                                 $__________________
             120 Corporate Blvd Ste 1                                                    When was the debt incurred?           2018
                                                                                                                               ____________
            _____________________________________________________________
            Number             Street

            _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
             Norfolk                                          VA
            _____________________________________________________________
                                                                             23502
            City                                              State          ZIP Code       Contingent
                                                                                            Unliquidated
            Who incurred the debt? Check one.
                                                                                            Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
            
            ✔       Debtor 2 only
                                                                                            Student loans
                   Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
                   At least one of the debtors and another                                  that you did not report as priority claims

                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.23 Portfolio Recov Assoc                                                           Last 4 digits of account number       7549                               2,442.00
                                                                                                                                                                 $__________________
            _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                               2014
            Nonpriority Creditor’s Name
             120 Corporate Blvd Ste 1
            _____________________________________________________________
            Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
            _______________________________________________________________________
            Norfolk                             VA       23502                              Contingent
            _____________________________________________________________
            City                                              State          ZIP Code       Unliquidated
            Who incurred the debt? Check one.                                               Disputed
                   Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
                   Debtor 2 only
            
            ✔       Debtor 1 and Debtor 2 only
                                                                                            Student loans

                   At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
            Is the claim subject to offset?
            
            ✔       No
                   Yes
    4.24     Syncb/Jcp                                                                   Last 4 digits of account number       ****
             _____________________________________________________________                                                                                        67.00
                                                                                                                                                                 $_________________
             Nonpriority Creditor’s Name                                                 When was the debt incurred?           2011
                                                                                                                               ____________
             Po Box 965007
             _____________________________________________________________
             Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
             _______________________________________________________________________
             Orlando                             FL       32896
             _____________________________________________________________                  Contingent
             City                                             State           ZIP Code
             Who incurred the debt? Check one.                                              Unliquidated

            
            ✔       Debtor 1 only
                                                                                            Disputed

                   Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                   Debtor 1 and Debtor 2 only                                              Student loans
                   At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
                   Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                              
                                                                                         ✔   Other. Specify
            
            ✔       No
                   Yes


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                                                                                                                                                                              Doc 1
                       First Name       Middle Name           Last Name


     Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

     3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        
        ✔ Yes


     4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
    4.25 Syncb/Walmart                                                                                                      ****
          _____________________________________________________________               Last 4 digits of account number
          Nonpriority Creditor’s Name                                                                                                                           254.00
                                                                                                                                                              $__________________
           Po Box 965024                                                              When was the debt incurred?           2016
                                                                                                                            ____________
          _____________________________________________________________
          Number            Street

          _______________________________________________________________________
                                                                                      As of the date you file, the claim is: Check all that apply.
           Orlando                                         FL
          _____________________________________________________________
                                                                          32896
          City                                             State          ZIP Code       Contingent
                                                                                         Unliquidated
          Who incurred the debt? Check one.
                                                                                         Disputed
          
          ✔      Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
                Debtor 2 only
                                                                                         Student loans
                Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
                At least one of the debtors and another                                  that you did not report as priority claims

                Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify
          Is the claim subject to offset?
          
          ✔      No
                Yes
    4.26 Verizon Wireless                                                             Last 4 digits of account number       **01                               829.00
                                                                                                                                                              $__________________
          _____________________________________________________________               When was the debt incurred?           ____________
                                                                                                                            2015
          Nonpriority Creditor’s Name
           Po Box 650051
          _____________________________________________________________
          Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
          _______________________________________________________________________
          Dallas                              TX       75265                             Contingent
          _____________________________________________________________
          City                                             State          ZIP Code       Unliquidated
          Who incurred the debt? Check one.                                              Disputed
                Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
          
          ✔      Debtor 2 only
                Debtor 1 and Debtor 2 only
                                                                                         Student loans

                At least one of the debtors and another
                                                                                         Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
                Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                      
                                                                                      ✔   Other. Specify
          Is the claim subject to offset?
          
          ✔      No
                Yes

                                                                                      Last 4 digits of account number
          _____________________________________________________________                                                                                       $_________________
          Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________

          _____________________________________________________________
          Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
          _______________________________________________________________________

          _____________________________________________________________                  Contingent
          City                                             State           ZIP Code
          Who incurred the debt? Check one.                                              Unliquidated

                Debtor 1 only
                                                                                         Disputed

                Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only                                              Student loans
                At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
                Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                Other. Specify
                No
                Yes


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                                                                                                                                                                 Doc 1
                     First Name    Middle Name           Last Name



     Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

     5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
        example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
        2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
        additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

           Hunt & Henriques                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
          _____________________________________________________
          Name

           151 Bernal Road                                                           4.22 of (Check one):
                                                                                Line _____                    Part 1: Creditors with Priority Unsecured Claims
          _____________________________________________________
          Number          Street                                                                             
                                                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
           Ste. 8
          _____________________________________________________
                                                                                Last 4 digits of account number     1279
           San Jose                              CA   95119
          _____________________________________________________
          City                                   State               ZIP Code

           Merrick Bank Corp                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
          _____________________________________________________
          Name

           Po Box 9201                                                                4.21 of (Check one):
                                                                                Line _____                    Part 1: Creditors with Priority Unsecured Claims
          _____________________________________________________
          Number          Street                                                                             
                                                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

          _____________________________________________________
                                                                                Claims

           Old Bethpage                    NY         11804
          _____________________________________________________                 Last 4 digits of account number      2646
          City                                   State               ZIP Code


          _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

          _____________________________________________________
                                                                                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
          Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
          _____________________________________________________
                                                                                Claims

          _____________________________________________________                 Last 4 digits of account number
          City                                   State               ZIP Code


          _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

          _____________________________________________________
                                                                                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
          Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
          _____________________________________________________
                                                                                Claims

          _____________________________________________________                 Last 4 digits of account number
          City                                   State               ZIP Code


          _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

          _____________________________________________________
                                                                                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
          Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
          _____________________________________________________
                                                                                Claims

          _____________________________________________________                 Last 4 digits of account number
          City                                   State               ZIP Code


          _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

          _____________________________________________________
                                                                                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
          Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
          _____________________________________________________
                                                                                Claims

          _____________________________________________________                 Last 4 digits of account number
          City                                   State               ZIP Code


          _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

          _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
          Number          Street
                                                                                                              Part 2: Creditors with Nonpriority Unsecured
          _____________________________________________________                 Claims

          _____________________________________________________
          City                                   State               ZIP Code
                                                                                Last 4 digits of account number


       Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                              11 of ___
                                                                                                                                                                     12
FiledDebtor
      05/12/19
            1
               Oscar Antonio Uribe                          Case 19-12023
              _______________________________________________________
                                                                                                                                                           Doc 1
                                                                                                 Case number (if known)_____________________________________
                    First Name    Middle Name         Last Name



     Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


     6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.




                                                                                            Total claim


                     6a. Domestic support obligations                               6a.                         0.00
     Total claims                                                                           $_________________________
     from Part 1
                     6b. Taxes and certain other debts you owe the
                         government                                                 6b.                         0.00
                                                                                            $_________________________

                     6c. Claims for death or personal injury while you were
                         intoxicated                                                6c.                         0.00
                                                                                            $_________________________

                     6d. Other. Add all other priority unsecured claims.
                         Write that amount here.                                    6d.
                                                                                          + $_________________________
                                                                                                                0.00


                     6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                                0.00
                                                                                            $_________________________



                                                                                            Total claim

                     6f. Student loans                                              6f.                          0.00
     Total claims                                                                            $_________________________
     from Part 2
                     6g. Obligations arising out of a separation agreement
                         or divorce that you did not report as priority
                         claims                                                     6g.
                                                                                                                 0.00
                                                                                             $_________________________

                     6h. Debts to pension or profit-sharing plans, and other
                         similar debts                                              6h.                          0.00
                                                                                            $_________________________

                     6i. Other. Add all other nonpriority unsecured claims.
                         Write that amount here.                                    6i.   + $_________________________
                                                                                                          31,564.00


                     6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                           31,564.00
                                                                                             $_________________________




       Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page __
                                                                                                                                                       12 of ___
                                                                                                                                                              12
Filed 05/12/19                                                             Case 19-12023                                                                           Doc 1

      Fill in this information to identify your case:

                            Oscar Antonio Uribe
      Debtor               __________________________________________________________________
                            First Name             Middle Name              Last Name
                           Elizabeth Uribe
      Debtor 2              ________________________________________________________________
      (Spouse If filing)    First Name             Middle Name              Last Name


      United States Bankruptcy Court for the:______________________
                                             Eastern District of California District of ________
                                                                                        (State)
      Case number           ___________________________________________
      (If known)                                                                                                                              Check if this is an
                                                                                                                                                 amended filing


    Official Form 106G
    Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).


     1. Do you have any executory contracts or unexpired leases?
           
           ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

     2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.



           Person or company with whom you have the contract or lease                               State what the contract or lease is for


     2.1
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.2
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.3
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.4
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Street

           _____________________________________________________________________
           City                         State   ZIP Code

     2.5
           _____________________________________________________________________
           Name

           _____________________________________________________________________
           Street

           _____________________________________________________________________
           City                         State   ZIP Code


    Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                                   page 1 of ___
Filed 05/12/19                                                                         Case 19-12023                                                                      Doc 1
     Fill in this information to identify your case:

                          Oscar Antonio Uribe
     Debtor 1            __________________________________________________________________
                             First Name                    Middle Name                 Last Name

     Debtor 2                Elizabeth Uribe
                             ________________________________________________________________
     (Spouse, if filing) First Name                        Middle Name                 Last Name


     United States Bankruptcy Court for the:_______________________
                                             Eastern District of California District of ________
                                                                                                   (State)
     Case number             ____________________________________________
      (If known)
                                                                                                                                                      Check if this is an
                                                                                                                                                        amended filing

    Official Form 106H
    Sc he dule H : Y our Code bt ors                                                                                                                              12/15
    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
    are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
    case number (if known). Answer every question.

     1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
           
           ✔    No
               Yes
     2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
               No. Go to line 3.
           
           ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                
                ✔       No
                       Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                        ______________________________________________________________________
                        Name of your spouse, former spouse, or legal equivalent

                        ______________________________________________________________________
                        Number            Street

                        ______________________________________________________________________
                        City                                             State                       ZIP Code

     3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
           shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
           Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
           Schedule E/F, or Schedule G to fill out Column 2.

            Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                                   Check all schedules that apply:
     3.1
             ________________________________________________________________________________                         Schedule D, line ______
             Name

             ________________________________________________________________________________
                                                                                                                      Schedule E/F, line ______
               Street                                                                                                 Schedule G, line ______
             ________________________________________________________________________________
             City                                                           State                       ZIP Code

     3.2
             ________________________________________________________________________________                         Schedule D, line ______
             Name

             ________________________________________________________________________________
                                                                                                                      Schedule E/F, line ______
               Street                                                                                                 Schedule G, line ______
             ________________________________________________________________________________
             City                                                           State                       ZIP Code

     3.3
             ________________________________________________________________________________                         Schedule D, line ______
             Name

             ________________________________________________________________________________
                                                                                                                      Schedule E/F, line ______
               Street                                                                                                 Schedule G, line ______
             ________________________________________________________________________________
             City                                                           State                       ZIP Code



    Official Form 106H                                                              Schedule H: Your Codebtors                                                       1
                                                                                                                                                          page 1 of ___
Filed 05/12/19                                                              Case 19-12023                                                                       Doc 1

     Fill in this information to identify your case:

                          Oscar Antonio Uribe
     Debtor 1           ____________________________________________________________________
                         First Name              Middle Name                 Last Name

     Debtor 2
                          Elizabeth Uribe
                         ____________________________________________________________________
     (Spouse, if filing) First Name              Middle Name                 Last Name


     United States Bankruptcy Court for the: ______________________
                                              Eastern District of CaliforniaDistrict
                                                                                          tate)
     Case number         ___________________________________________                                          Check if this is:
      (If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
                                                                                                                 income as of the following date:
                                                                                                                 ________________
    Official Form 106I                                                                                           MM / DD / YYYY

    Sche dule I : Your I nc om e                                                                                                                           12/15

    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
    If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
    separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


     Pa rt 1 :         De sc ribe Em ployme nt


     1. Fill in your employment
        information.                                                               Debtor 1                                    Debtor 2 or non-filing spouse

        If you have more than one job,
        attach a separate page with                                             ✔ Employed
        information about additional           Employment status                                                                 Employed
        employers.                                                               Not employed                                 
                                                                                                                               ✔   Not employed
        Include part-time, seasonal, or
        self-employed work.                                                     Driver
                                               Occupation                     __________________________________           __________________________________
        Occupation may include student
        or homemaker, if it applies.                                             Price Disposal, Inc.
                                               Employer’s name                __________________________________            __________________________________


                                               Employer’s address                8665 SO. Union Ave
                                                                              _______________________________________     ________________________________________
                                                                               Number Street                               Number    Street

                                                                              _______________________________________     ________________________________________

                                                                             _______________________________________      ________________________________________

                                                                                 Bakersfield, CA 93307
                                                                              _______________________________________     ________________________________________
                                                                               City            State  ZIP Code              City                State ZIP Code

                                               How long employed there?________________________
                                                                        2 Years                                             ________________________

     Pa rt 2 :         Give De t a ils About Mont hly I nc ome

        Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
        spouse unless you are separated.
        If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
        below. If you need more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse
     2. List monthly gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate what the monthly wage would be.              2.       5,386.72
                                                                                                        $___________           $____________

     3. Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                                 0.00      +   $____________


     4. Calculate gross income. Add line 2 + line 3.                                              4.       5,386.72
                                                                                                        $__________            $____________




    Official Form 106I                                                    Schedule I: Your Income                                                      page 1
Filed 05/12/19Oscar Antonio Uribe                                                          Case 19-12023                                                                                  Doc 1
     Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                      First Name         Middle Name               Last Name

                                                                                                                              For Debtor 1         For Debtor 2 or
                                                                                                                                                   non-filing spouse

        Copy line 4 here ............................................................................................  4.        5,386.72
                                                                                                                               $___________            $_____________
     5. List all payroll deductions:

          5a. Tax, Medicare, and Social Security deductions                                                           5a.          514.18
                                                                                                                              $____________            $_____________
          5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                              $____________            $_____________
          5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                              $____________            $_____________
          5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                              $____________            $_____________
          5e. Insurance                                                                                               5e.          617.14
                                                                                                                              $____________            $_____________
          5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                              $____________            $_____________
                                                                                                                                     0.00
                                                                                                                              $____________            $_____________
          5g. Union dues                                                                                              5g.
          5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
         _____________________________________________________________                                                        $____________            $____________
         _____________________________________________________________                                                        $____________            $____________
         _____________________________________________________________                                                        $____________            $____________

      6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,131.32
                                                                                                                              $____________            $____________
      7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        4,255.40
                                                                                                                              $____________            $____________


      8. List all other income regularly received:

          8a. Net income from rental property and from operating a business,
              profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                              $____________            $_____________
                monthly net income.                                                                                   8a.
          8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                              $____________                     0.00
                                                                                                                                                       $_____________
          8c. Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
                Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                              $____________            $_____________
                settlement, and property settlement.                                                                  8c.
          8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                              $____________                     0.00
                                                                                                                                                       $_____________
          8e. Social Security                                                                                         8e.            0.00
                                                                                                                              $____________                     0.00
                                                                                                                                                       $_____________
          8f. Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                              $____________                     0.00
                                                                                                                                                       $_____________

          8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                              $____________                     0.00
                                                                                                                                                       $_____________

          8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                      0.00         + $_____________
                                                                                                                                                              0.00
      9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                              $____________                     0.00
                                                                                                                                                       $_____________

     10. Calculate monthly income. Add line 7 + line 9.
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                                 4,255.40
                                                                                                                              $___________     +               0.00
                                                                                                                                                       $_____________      =      4,255.40
                                                                                                                                                                               $_____________

     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
         friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                                   0.00
     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                  4,255.40
                                                                                                                                                                               $_____________
         Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                               Combined
                                                                                                                                                                               monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
           
           ✔    No.
               Yes. Explain:


       Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
Filed 05/12/19                                                               Case 19-12023                                                                           Doc 1

      Fill in this information to identify your case:

                         Oscar Antonio Uribe
      Debtor 1          __________________________________________________________________
                          First Name             Middle Name                 Last Name                           Check if this is:
                          Elizabeth Uribe
      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                                  An amended filing
                                              Eastern District of California
                                                                                                                  A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the: ______________________         District of __________                  expenses as of the following date:
                                                                                         (State)
                                                                                                                     ________________
      Case number         ___________________________________________                                                MM / DD / YYYY
      (If known)




    Official Form 106J
    Schedule J: Your Expenses                                                                                                                                  12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

     Part 1:            Describe Your Household

    1. Is this a joint case?

        No. Go to line 2.
       
       ✔ Yes. Does Debtor 2 live in a separate household?
                   ✔ No
                   
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
    2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
       Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                             Debtor 1 or Debtor 2                     age           with you?
       Debtor 2.                                   each dependent..........................
       Do not state the dependents’                                                            Son                                      11            No
                                                                                              _________________________                ________
       names.                                                                                                                                        
                                                                                                                                                     ✔ Yes
                                                                                               Daughter
                                                                                              _________________________                 8
                                                                                                                                       ________       No
                                                                                                                                                     
                                                                                                                                                     ✔ Yes
                                                                                               Daughter
                                                                                              _________________________                 6
                                                                                                                                       ________       No
                                                                                                                                                     
                                                                                                                                                     ✔ Yes
                                                                                               Son
                                                                                              _________________________                 5
                                                                                                                                       ________       No
                                                                                                                                                     
                                                                                                                                                     ✔ Yes

                                                                                              _________________________                ________       No
                                                                                                                                                      Yes
    3. Do your expenses include
       expenses of people other than
                                                  No
       yourself and your dependents?              Yes

    Part 2:         Estimate Your Ongoing Monthly Expenses

    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
    expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
    applicable date.
    Include expenses paid for with non-cash government assistance if you know the value of
    such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

     4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                     1,555.00
                                                                                                                                         $_____________________
         any rent for the ground or lot.                                                                                         4.

         If not included in line 4:
                                                                                                                                                          0.00
         4a.    Real estate taxes                                                                                                4a.     $_____________________
         4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                          0.00
                                                                                                                                         $_____________________
         4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                         $_____________________
         4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                         $_____________________

      Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
Filed 05/12/19                                                             Case 19-12023                                                                      Doc 1

                        Oscar Antonio Uribe
    Debtor 1           _______________________________________________________                   Case number (if known)_____________________________________
                       First Name     Middle Name        Last Name




                                                                                                                            Your expenses

                                                                                                                           $_____________________
                                                                                                                                            0.00
     5. Additional mortgage payments for your residence, such as home equity loans                                  5.


     6. Utilities:

            6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                         165.00
            6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                          50.00
            6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                         180.00
            6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                            0.00
     7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                         700.00
     8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                            0.00
     9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                         140.00
    10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                         100.00
    11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                          50.00
    12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                           $_____________________
                                                                                                                                         260.00
           Do not include car payments.                                                                             12.

    13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                          70.00
    14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                            0.00
                                                                                                                                                          1
    15.     Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.

            15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                           $_____________________
            15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                            0.00
            15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                         140.00
            15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                            0.00

   16.     Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: ________________________________________________________                                       16.
                                                                                                                                           0.00
                                                                                                                           $_____________________

    17.    Installment or lease payments:

            17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                         250.00
            17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                         550.00
            17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                            0.00
            17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                           $_____________________

    18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
           your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                           $_____________________

    19.    Other payments you make to support others who do not live with you.
           Specify:_______________________________________________________                                           19.
                                                                                                                                            0.00
                                                                                                                           $_____________________

    20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

            20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                            0.00
            20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                            0.00
            20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                            0.00
            20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                            0.00
            20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                            0.00


          Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
Filed 05/12/19                                                           Case 19-12023                                                                        Doc 1

                       Oscar Antonio Uribe
    Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                      First Name    Middle Name        Last Name




    21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                       21.   +$_____________________
    ______________________________________________________________________________________                                   +$_____________________
    ______________________________________________________________________________________                                   +$_____________________
    22.     Calculate your monthly expenses.

            22a. Add lines 4 through 21.                                                                             22a.                 4,210.00
                                                                                                                              $_____________________

            22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

            and 22b. The result is your monthly expenses.                                                            22c.                 4,210.00
                                                                                                                              $_____________________


    23. Calculate your monthly net income.
                                                                                                                                           4,255.40
                                                                                                                               $_____________________
          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

          23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,210.00
                                                                                                                             – $_____________________

          23c.   Subtract your monthly expenses from your monthly income.                                                                     45.40
                                                                                                                               $_____________________
                 The result is your monthly net income.                                                               23c.



    24. Do you expect an increase or decrease in your expenses within the year after you file this form?

           For example, do you expect to finish paying for your car loan within the year or do you expect your
           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
          ✔
             Yes.      Explain here:




          Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
Filed 05/12/19                                                             Case 19-12023                                                                          Doc 1

   Fill in this information to identify your case:

   Debtor 1            Oscar Antonio Uribe
                      __________________________________________________________________
                       First Name              Middle Name              Last Name

   Debtor 2           Elizabeth   Uribe
                      ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name              Last Name


                                           ______________________
   United States Bankruptcy Court for the:Eastern District of California District of __________
                                                                                    (State)
   Case number         ___________________________________________
    (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing


     Official Form 106Dec
     De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                         12/15

     If two married people are filing together, both are equally responsible for supplying correct information.

     You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
     obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
     years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Be low



          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          
          ✔      No
                Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




          Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
          that they are true and correct.




        /s/ Oscar Antonio Uribe
             ______________________________________________           _____________________________
                                                                        /s/ Elizabeth Uribe
            Signature of Debtor 1                                          Signature of Debtor 2


                 05/09/2019
            Date _________________                                               05/09/2019
                                                                           Date _________________
                   MM /    DD       /   YYYY                                        MM / DD /   YYYY




     Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
Filed 05/12/19                                                               Case 19-12023                                                                             Doc 1

     Fill in this information to identify your case:

     Debtor 1          Oscar Antonio Uribe
                       __________________________________________________________________
                         First Name               Middle Name                  Last Name

     Debtor 2             Elizabeth Uribe
                         ________________________________________________________________
     (Spouse, if filing) First Name               Middle Name                  Last Name


     United States Bankruptcy Court for the: Eastern
                                              ______________________
                                                     District of California District of ______________
                                                                                     (State)
     Case number         ___________________________________________
      (If known)                                                                                                                                 Check if this is an
                                                                                                                                                   amended filing




    Official Form 107
    St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                              4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.


     Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


     1. What is your current marital status?


          
          ✔ Married

           Not married

     2. During the last 3 years, have you lived anywhere other than where you live now?

         
         ✔     No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                   Debtor 1:                                            Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                        lived there                                                                  lived there

                                                                                                Same as Debtor 1                                      Same as Debtor 1

                   __________________________________________           From     ________         ___________________________________________           From ________
                    Number    Street                                                              Number Street
                                                                        To       __________                                                             To      ________
                   __________________________________________                                     ___________________________________________

                   __________________________________________                                     ___________________________________________
                   City                     State ZIP Code                                        City                     State ZIP Code


                                                                                                Same as Debtor 1                                      Same as Debtor 1


                   __________________________________________           From     ________         ___________________________________________           From ________
                    Number    Street                                                              Number Street
                                                                        To       ________                                                               To      ________
                   __________________________________________                                     ___________________________________________

                   __________________________________________                                     ___________________________________________
                   City                     State ZIP Code                                        City                     State   ZIP Code


     3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
         and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         
         ✔     No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




     Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
Filed 05/12/19                                                                    Case 19-12023                                                                                Doc 1

    Debtor 1         Oscar Antonio Uribe
                     _______________________________________________________                                     Case number (if known)_____________________________________
                     First Name     Middle Name             Last Name


      Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

      4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
         Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
         If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
         
         ✔     Yes. Fill in the details.

                                                                    Debtor 1                                              Debtor 2

                                                                    Sources of income            Gross income             Sources of income           Gross income
                                                                    Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                                 exclusions)                                          exclusions)


                From January 1 of current year until
                                                                    
                                                                    ✔   Wages, commissions,                                  Wages, commissions,
                                                                        bonuses, tips            $________________
                                                                                                  22,777.93                   bonuses, tips           $________________
                                                                                                                                                       0.00
                the date you filed for bankruptcy:
                                                                       Operating a business                                 Operating a business


                For last calendar year:
                                                                    
                                                                    ✔   Wages, commissions,                               
                                                                                                                          ✔   Wages, commissions,
                                                                        bonuses, tips            $________________
                                                                                                  52,740.56                   bonuses, tips           $________________
                                                                                                                                                       13,191.46
                (January 1 to December 31, _________)
                                           2018                        Operating a business                                 Operating a business
                                                  YYYY



                For the calendar year before that:                  
                                                                    ✔   Wages, commissions,                                  Wages, commissions,
                                                                        bonuses, tips                                         bonuses, tips
                                                                                                 $________________
                                                                                                  47,140.00                                           $________________
                                                                                                                                                       0.00
                (January 1 to December 31, _________)
                                           2017                        Operating a business                                 Operating a business
                                                  YYYY



      5. Did you receive any other income during this year or the two previous calendar years?
         Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
         and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
         winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

         List each source and the gross income from each source separately. Do not include income that you listed in line 4.

         
         ✔     No
              Yes. Fill in the details.

                                                         Debtor 1                                                          Debtor 2

                                                         Sources of income             Gross income from                   Sources of income          Gross income from
                                                         Describe below.               each source                         Describe below.            each source
                                                                                       (before deductions and                                         (before deductions and
                                                                                       exclusions)                                                    exclusions)


                                            _________________________                  $________________          _________________________          $________________
     From January 1 of current
     year until the date you                _________________________                  $________________          _________________________          $________________
     filed for bankruptcy:
                                            _________________________                  $_________________         _________________________          $_________________


                                             _________________________ $________________                           _________________________         $________________
    For last calendar year:
                                             _________________________ $________________                           _________________________         $________________
    (January 1 to
                                             _________________________ $_________________                          _________________________         $_________________
    December 31, _________)


     For the calendar year                   _________________________ $________________                           _________________________         $________________
     before that:                            _________________________ $________________                           _________________________         $________________
     (January 1 to                           _________________________ $_________________                          _________________________         $_________________
     December 31, _________)




    Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
Filed 05/12/19                                                             Case 19-12023                                                                         Doc 1

    Debtor 1       Oscar Antonio Uribe
                   _______________________________________________________                             Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name




     Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



     6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

              No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   “incurred by an individual primarily for a personal, family, or household purpose.”
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                        the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                        as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                   * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

         
         ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                   
                   ✔    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and
                             alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                          Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                          payment


                                                                         05/2019
                                                                         _________      $_________________ $__________________
                          Nationstar/Mr Cooper
                          ____________________________________                           4,503.00           153,519.00                      
                                                                                                                                            ✔ Mortgage
                          Creditor’s Name
                                                                                                                                             Car
                          8950 Cypress Waters Blvd
                          ____________________________________           04/2019
                                                                         _________
                          Number    Street                                                                                                   Credit card
                                                                         03/2019
                                                                                                                                             Loan repayment
                          ____________________________________           _________
                                                                                                                                             Suppliers or vendors
                          ____________________________________
                          Coppell
                          City
                                            TX       75019
                                                  State       ZIP Code
                                                                                                                                             Other ______________


                                                                                         1,650.00
                                                                                        $_________________  29,768.00
                                                                                                           $__________________
                          Ally Financial
                          ____________________________________           05/2019
                                                                         _________                                                           Mortgage
                          Creditor’s Name
                                                                                                                                            
                                                                                                                                            ✔ Car
                          200 Renaissance Ctr
                          ____________________________________           04/2019
                                                                         _________
                          Number    Street
                                                                                                                                             Credit card
                                                                                                                                             Loan repayment
                          ____________________________________           03/2019
                                                                         _________
                                                                                                                                             Suppliers or vendors
                          Detroit           MI        48243
                          ____________________________________                                                                               Other ______________
                          City                    State       ZIP Code




                          Torres Auto Sales
                          ____________________________________           05/2019
                                                                         _________      $_________________
                                                                                         750.00            $__________________
                                                                                                            3,000.00                         Mortgage
                          Creditor’s Name
                                                                                                                                            
                                                                                                                                            ✔ Car
                          2590 S. Union Ave
                          ____________________________________           04/2019
                                                                         _________
                          Number    Street
                                                                                                                                             Credit card
                                                                                                                                             Loan repayment
                          ____________________________________           _________
                                                                         03/2019
                                                                                                                                             Suppliers or vendors
                          Bakersfield       CA       93307
                          ____________________________________                                                                               Other _______________
                          City                    State       ZIP Code




    Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
Filed 05/12/19                                                               Case 19-12023                                                                          Doc 1

    Debtor 1            Oscar Antonio Uribe
                       _______________________________________________________                            Case number (if known)_____________________________________
                       First Name      Middle Name           Last Name




     7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
         Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
         corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
         agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
         such as child support and alimony.

         
         ✔     No
              Yes. List all payments to an insider.
                                                                            Dates of      Total amount      Amount you still   Reason for this payment
                                                                            payment       paid              owe


                ____________________________________________              _________      $____________ $____________
                Insider’s Name


                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code



                ____________________________________________              _________      $____________ $____________
                Insider’s Name

                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code


     8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
         an insider?
         Include payments on debts guaranteed or cosigned by an insider.

         
         ✔     No
              Yes. List all payments that benefited an insider.
                                                                           Dates of        Total amount     Amount you still   Reason for this payment
                                                                           payment         paid             owe
                                                                                                                               Include creditor’s name

                ____________________________________________              _________      $____________ $____________
                Insider’s Name


                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code



                                                                                         $____________ $____________
                ____________________________________________              _________
                Insider’s Name


                ____________________________________________              _________
                Number        Street


                ____________________________________________              _________

                ____________________________________________
                City                                 State   ZIP Code




    Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
Filed 05/12/19                                                                        Case 19-12023                                                                             Doc 1

    Debtor 1          Oscar   Antonio Uribe
                      _______________________________________________________                                        Case number (if known)_____________________________________
                      First Name            Middle Name            Last Name




      Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

     9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
         List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
         and contract disputes.

         
         ✔     No
              Yes. Fill in the details.
                                                                          Nature of the case                   Court or agency                                 Status of the case

        Case title:
                                                                                                              ________________________________________           Pending
                                                                                                              Court Name
                                                                                                                                                                 On appeal
                                                                                                              ________________________________________
                                                                                                              Number    Street                                   Concluded


                                                                                                              ________________________________________
                                                                                                              City                   State   ZIP Code
        Case number ________________________


                                                                                                              ________________________________________           Pending
                                                                                                              Court Name
        Case title:
                                                                                                                                                                 On appeal
                                                                                                              ________________________________________
                                                                                                              Number    Street                                   Concluded


                                                                                                              ________________________________________
                                                                                                              City                   State   ZIP Code
        Case number ________________________

     10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
         Check all that apply and fill in the details below.

         
         ✔     No. Go to line 11.
              Yes. Fill in the information below.

                                                                                    Describe the property                                     Date          Value of the property



                       _________________________________________                                                                              __________     $______________
                       Creditor’s Name


                       _________________________________________
                       Number      Street                                           Explain what happened

                                                                                        Property was repossessed.
                       _________________________________________
                                                                                        Property was foreclosed.
                                                                                        Property was garnished.
                       _________________________________________
                       City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                    Describe the property                                     Date           Value of the property



                                                                                                                                             __________      $______________
                       _________________________________________
                       Creditor’s Name


                       _________________________________________
                       Number      Street
                                                                                    Explain what happened

                       _________________________________________                        Property was repossessed.
                                                                                        Property was foreclosed.
                       _________________________________________                        Property was garnished.
                       City                               State   ZIP Code
                                                                                        Property was attached, seized, or levied.



    Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
Filed 05/12/19                                                                   Case 19-12023                                                                          Doc 1

    Debtor 1          Oscar Antonio Uribe
                      _______________________________________________________                                Case number (if known)_____________________________________
                      First Name     Middle Name             Last Name




     11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
         accounts or refuse to make a payment because you owed a debt?
         
         ✔     No
              Yes. Fill in the details.

                                                                     Describe the action the creditor took                         Date action       Amount
                                                                                                                                   was taken
               ______________________________________
               Creditor’s Name


               ______________________________________                                                                             ____________ $________________
               Number     Street


               ______________________________________

               ______________________________________
               City                           State   ZIP Code       Last 4 digits of account number: XXXX–


     12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
         creditors, a court-appointed receiver, a custodian, or another official?
         
         ✔     No
              Yes

     Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


     13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

         
         ✔     No
              Yes. Fill in the details for each gift.


                 Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
                 per person                                                                                                        the gifts



               ______________________________________                                                                              _________           $_____________
               Person to Whom You Gave the Gift


               ______________________________________                                                                              _________           $_____________

               ______________________________________
               Number     Street


               ______________________________________
               City                           State   ZIP Code


               Person’s relationship to you    ______________


               Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
               per person                                                                                                          the gifts


               ______________________________________                                                                              _________           $_____________
               Person to Whom You Gave the Gift


               ______________________________________                                                                              _________           $_____________


               ______________________________________
               Number     Street


               ______________________________________
               City                           State   ZIP Code


               Person’s relationship to you ______________


    Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
Filed 05/12/19                                                                      Case 19-12023                                                                                    Doc 1

    Debtor 1            Oscar Antonio Uribe
                        _______________________________________________________                                     Case number (if known)_____________________________________
                        First Name     Middle Name              Last Name




     14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

         
         ✔     No
              Yes. Fill in the details for each gift or contribution.

                 Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
                 that total more than $600                                                                                                   contributed



               _____________________________________                                                                                         _________           $_____________
               Charity’s Name


               _____________________________________                                                                                         _________           $_____________


               _____________________________________
               Number       Street



               _____________________________________
               City            State    ZIP Code




     Pa rt 6 :          List Ce rt a in Losse s


     15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
         or gambling?

         ✔    No
              Yes. Fill in the details.

                 Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
                 the loss occurred                                                                                                                               lost
                                                                        Include the amount that insurance has paid. List pending insurance
                                                                        claims on line 33 of Schedule A/B: Property.


                                                                                                                                             _________           $_____________




     Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

     16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
         consulted about seeking bankruptcy or preparing a bankruptcy petition?
         Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

              No
         
         ✔     Yes. Fill in the details.

                                                                        Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                             transfer was made
                 ___________________________________
                 Law Office of Scott Bell
                 Person Who Was Paid

                 ___________________________________
                 1331 L St.
                 Number       Street                                                                                                         _________
                                                                                                                                             04/2019             $_____________
                                                                                                                                                                   1,500.00

                 ___________________________________
                                                                                                                                             _________           $_____________
                 ___________________________________
                 Bakersfield         CA      93301
                 City                       State    ZIP Code


                 ____________________________________________
                 Email or website address

                 ___________________________________
                 Person Who Made the Payment, if Not You



    Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
Filed 05/12/19                                                                      Case 19-12023                                                                                 Doc 1

    Debtor 1           Oscar Antonio Uribe
                       _______________________________________________________                                    Case number (if known)_____________________________________
                       First Name      Middle Name              Last Name




                                                                        Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                         transfer was made     payment

                ____________________________________
                Person Who Was Paid
                                                                                                                                         _________             $_____________
                ____________________________________
                Number       Street

                                                                                                                                         _________             $_____________
                ____________________________________

                ____________________________________
                City                        State    ZIP Code



                ________________________________________________
                Email or website address

                ___________________________________
                Person Who Made the Payment, if Not You


     17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
         promised to help you deal with your creditors or to make payments to your creditors?
         Do not include any payment or transfer that you listed on line 16.

         
         ✔     No
              Yes. Fill in the details.

                                                                        Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                         transfer was made
                ____________________________________
                Person Who Was Paid
                                                                                                                                         _________             $____________
                ____________________________________
                Number        Street

                ____________________________________                                                                                     _________             $____________

                ____________________________________
                City                        State    ZIP Code

     18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
         transferred in the ordinary course of your business or financial affairs?
         Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
         Do not include gifts and transfers that you have already listed on this statement.
         
         ✔     No
              Yes. Fill in the details.

                                                                        Description and value of property         Describe any property or payments received      Date transfer
                                                                        transferred                               or debts paid in exchange                       was made
                ___________________________________
                Person Who Received Transfer

                ___________________________________                                                                                                               _________
                Number       Street

                ___________________________________

                ___________________________________
                City                        State    ZIP Code


                Person’s relationship to you _____________

                ___________________________________
                Person Who Received Transfer
                                                                                                                                                                  _________
                ___________________________________
                Number       Street

                ___________________________________

                ___________________________________
                City                        State    ZIP Code

                Person’s relationship to you _____________

    Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
Filed 05/12/19                                                                        Case 19-12023                                                                            Doc 1

    Debtor 1           Oscar Antonio Uribe
                       _______________________________________________________                                   Case number (if known)_____________________________________
                       First Name     Middle Name              Last Name




     19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
         are a beneficiary? (These are often called asset-protection devices.)

         
         ✔     No
              Yes. Fill in the details.

                                                                       Description and value of the property transferred                                       Date transfer
                                                                                                                                                               was made


                                                                                                                                                               _________
               Name of trust




     Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

     20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
         closed, sold, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
         brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         
         ✔     No
              Yes. Fill in the details.

                                                                       Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                            instrument               closed, sold, moved,   closing or transfer
                                                                                                                                     or transferred
                ____________________________________
                Name of Financial Institution
                                                                           XXXX–___ ___ ___ ___              Checking               _________              $___________
                ____________________________________
                Number       Street
                                                                                                             Savings
                ____________________________________                                                         Money market
                ____________________________________
                                                                                                             Brokerage
                City                       State    ZIP Code                                                 Other__________

                ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
                Name of Financial Institution
                                                                                                             Savings
                ____________________________________
                Number       Street                                                                          Money market
                ____________________________________                                                         Brokerage
                ____________________________________                                                         Other__________
                City                       State    ZIP Code


     21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
         securities, cash, or other valuables?
         
         ✔  No
              Yes. Fill in the details.
                                                                           Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                                   have it?

                                                                                                                                                                      No
                ____________________________________                  _______________________________________
                Name of Financial Institution                         Name
                                                                                                                                                                      Yes

                ____________________________________                  _______________________________________
                Number       Street                                   Number      Street
                ____________________________________
                                                                      _______________________________________
                                                                      City          State      ZIP Code
                ____________________________________
                City                       State    ZIP Code



    Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
Filed 05/12/19                                                                         Case 19-12023                                                                                       Doc 1

    Debtor 1            Oscar Antonio Uribe
                        _______________________________________________________                                              Case number (if known)_____________________________________
                        First Name      Middle Name               Last Name




     22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
        
        ✔      No
              Yes. Fill in the details.
                                                                         Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                              have it?


                 ___________________________________                     _______________________________________                                                                No
                 Name of Storage Facility                                Name                                                                                                   Yes
                 ___________________________________                     _______________________________________
                 Number       Street                                     Number    Street

                 ___________________________________                     _______________________________________
                                                                         City State ZIP Code
                 ___________________________________
                 City                        State     ZIP Code



     Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

     23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
         or hold in trust for someone.
         
         ✔   No
              Yes. Fill in the details.
                                                                        Where is the property?                                    Describe the property                    Value


                 ___________________________________
                 Owner’s Name                                                                                                                                              $__________
                                                                       _________________________________________
                 ___________________________________                   Number     Street
                 Number        Street
                                                                       _________________________________________
                 ___________________________________
                                                                       _________________________________________
                 ___________________________________                   City                             State     ZIP Code
                 City                        State     ZIP Code


     Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

     For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
         hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
         including statutes or regulations controlling the cleanup of these substances, wastes, or material.

      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
         it or used to own, operate, or utilize it, including disposal sites.

      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
         substance, hazardous material, pollutant, contaminant, or similar term.

     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

     24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


         
         ✔     No
              Yes. Fill in the details.
                                                                         Governmental unit                            Environmental law, if you know it                   Date of notice



                ____________________________________                    _______________________________                                                                    _________
                Name of site                                            Governmental unit

                ____________________________________                    _______________________________
                Number       Street                                     Number    Street

                                                                        _______________________________
                ____________________________________                    City                   State   ZIP Code


                ____________________________________
                City                        State     ZIP Code



    Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
Filed 05/12/19                                                                        Case 19-12023                                                                                           Doc 1

    Debtor 1           Oscar Antonio Uribe
                       _______________________________________________________                                              Case number (if known)_____________________________________
                       First Name      Middle Name              Last Name




     25. Have you notified any governmental unit of any release of hazardous material?

         
         ✔     No
              Yes. Fill in the details.
                                                                       Governmental unit                               Environmental law, if you know it                     Date of notice


                ____________________________________                  _______________________________
                Name of site                                          Governmental unit
                                                                                                                                                                              _________

                ____________________________________                  _______________________________
                Number        Street                                  Number     Street


                ____________________________________                  _______________________________
                                                                      City                  State    ZIP Code
                ____________________________________
                City                        State    ZIP Code


     26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

         
         ✔     No
              Yes. Fill in the details.
                                                                                                                                                                              Status of the
                                                                        Court or agency                                     Nature of the case
                                                                                                                                                                              case

               Case title
                                                                        ________________________________                                                                         Pending
                                                                        Court Name
                                                                                                                                                                                 On appeal
                                                                        ________________________________
                                                                        Number     Street                                                                                        Concluded


               Case number                                              ________________________________
                                                                        City                        State   ZIP Code



     Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

     27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation

         
         ✔     No. None of the above applies. Go to Part 12.
              Yes. Check all that apply above and fill in the details below for each business.
                                                                        Describe the nature of the business                                Employer Identification number
                ____________________________________                                                                                       Do not include Social Security number or ITIN.
                Business Name


                ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                Number        Street
                                                                                                                                           Dates business existed
                ____________________________________
                                                                        Name of accountant or bookkeeper
                                                                                                                                           From     _______             To _______
                ____________________________________
                City                        State    ZIP Code

                                                                        Describe the nature of the business                                Employer Identification number
                ____________________________________                                                                                       Do not include Social Security number or ITIN.
                Business Name


                ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                Number        Street
                                                                                                                                           Dates business existed
                ____________________________________
                                                                        Name of accountant or bookkeeper
                                                                                                                                           From     _______                 To _______
                ____________________________________
                City                        State    ZIP Code


    Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
Filed 05/12/19                                                                        Case 19-12023                                                                              Doc 1

    Debtor 1           Oscar Antonio Uribe
                       _______________________________________________________                                    Case number (if known)_____________________________________
                       First Name      Middle Name              Last Name




                                                                        Describe the nature of the business                     Employer Identification number
                                                                                                                                Do not include Social Security number or ITIN.
                ____________________________________
                Business Name
                                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                ____________________________________
                Number        Street
                                                                                                                                Dates business existed

                ____________________________________

                                                                        Name of accountant or bookkeeper
                ____________________________________                                                                            From     _______         To _______
                City                        State    ZIP Code




     28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
         institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

                                                                        Date issued



                ____________________________________                    ____________
                Name                                                    MM / DD / YYYY


                ____________________________________
                Number        Street


                ____________________________________

                ____________________________________
                City                        State    ZIP Code




     Pa rt 1 2 :       Sign Be low


          I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
          answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
          in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.




               /s/ Oscar Antonio Uribe
                ______________________________________________                        _____________________________
                                                                                         /s/ Elizabeth Uribe
                Signature of Debtor 1                                                    Signature of Debtor 2


                Date ________________
                      05/09/2019                                                         Date _________________
                                                                                               05/09/2019
          Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

          
          ✔      No
                Yes


          Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
          
          ✔     No
               Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




    Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
Filed 05/12/19                                                               Case 19-12023                                                                        Doc 1

   Fill in this information to identify your case:

                     Oscar Antonio Uribe
   Debtor 1          __________________________________________________________________
                       First Name               Middle Name               Last Name
                     Elizabeth Uribe
   Debtor 2           ________________________________________________________________
   (Spouse, if filing) First Name               Middle Name               Last Name


                                           ______________________
   United States Bankruptcy Court for the:Eastern District of California District of __________
                                                                                      (State)
   Case number         ___________________________________________                                                                                Check if this is an
    (If known)                                                                                                                                       amended filing



     Official Form 108
     St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

     If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
     You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
     whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
     If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
     Both debtors must sign and date the form.
     Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
     write your name and case number (if known).

       Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

       1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
          information below.

              Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                           secures a debt?                                   as exempt on Schedule C?

             Creditor’s                                                                    Surrender the property.                           No
             name:           Nationstar/Mr Cooper
                                                                                           Retain the property and redeem it.                Yes
            Description of          406 Calderdale Dr.
            property                                                                      
                                                                                          ✔ Retain the property and enter into a

            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________


            Creditor’s        Ally Financial                                               Surrender the property.                          
                                                                                                                                             ✔ No
            name:
                                                                                           Retain the property and redeem it.                Yes
            Description of          2017 Chevrolet Acadia
            property                                                                      
                                                                                          ✔ Retain the property and enter into a

            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________

            Creditor’s      Torres Auto Sales                                              Surrender the property.                          
                                                                                                                                             ✔ No
            name:
                                    2005 Acura MDX                                         Retain the property and redeem it.                Yes
            Description of
            property                                                                      
                                                                                          ✔ Retain the property and enter into a

            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________

            Creditor’s                                                                     Surrender the property.                           No
            name:
                                                                                           Retain the property and redeem it.                Yes
            Description of
            property                                                                       Retain the property and enter into a
            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________


     Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
Filed 05/12/19                                                         Case 19-12023                                                                     Doc 1
                         Oscar Antonio Uribe & Elizabeth Uribe
    Debtor              ______________________________________________________                   Case number (If known)_____________________________________




     Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

     For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
     fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
     ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

             Describe your unexpired personal property leases                                                            Will the lease be assumed?

             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
             Description of leased                                                                                       Yes
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:




     Pa rt 3 :          Sign Be low



        Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
        personal property that is subject to an unexpired lease.



      /s/ Oscar Antonio Uribe
             ___________________________________________           /s/ Elizabeth Uribe
                                                                      ___________________________________________
         Signature of Debtor 1                                         Signature of Debtor 2

                 05/09/2019
         Date _________________
                                                                            05/09/2019
                                                                       Date _________________
                 MM /    DD   /   YYYY                                      MM /   DD /   YYYY




     Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
Filed 05/12/19                                                               Case 19-12023                                                                                Doc 1
      Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                            Form 122A-1Supp:
     Debtor 1           Oscar Antonio Uribe
                       __________________________________________________________________
                         First Name               Middle Name                 Last Name
                                                                                                            
                                                                                                            ■   1. There is no presumption of abuse.
     Debtor 2           Elizabeth   Uribe
                        ________________________________________________________________
     (Spouse, if filing) First Name               Middle Name                 Last Name                        2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
                                              __________
     United States Bankruptcy Court for the: Eastern District of California
                                                              District of __________                               Means Test Calculation (Official Form 122A–2).
     Case number         ___________________________________________                                           3. The Means Test does not apply now because of
      (If known)                                                                                                   qualified military service but it could apply later.


                                                                                                             Check if this is an amended filing

    Official Form 122A─1
    Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                             12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
    additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
    do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
    Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e

     1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
          
          ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
             Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
             Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                      under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                      spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
          Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
          bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
          August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
          Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
          income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse

     2. Your gross wages, salary, tips, bonuses, overtime, and commissions
        (before all payroll deductions).
                                                                                                              5,839.60
                                                                                                             $_________             0.00
                                                                                                                                   $__________

     3. Alimony and maintenance payments. Do not include payments from a spouse if
        Column B is filled in.
                                                                                                              0.00
                                                                                                             $_________             0.00
                                                                                                                                   $__________

     4. All amounts from any source which are regularly paid for household expenses
        of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not
        filled in. Do not include payments you listed on line 3.
                                                                                                              0.00
                                                                                                             $_________             0.00
                                                                                                                                   $__________

     5. Net income from operating a business, profession,
                                                                           Debtor 1       Debtor 2
        or farm
        Gross receipts (before all deductions)                                 0.00
                                                                              $______       0.00
                                                                                          $______
          Ordinary and necessary operating expenses                           0.00 –
                                                                           – $______        0.00
                                                                                          $______
                                                                                                     Copy                           0.00
          Net monthly income from a business, profession, or farm              0.00
                                                                              $______       0.00 here
                                                                                          $______               0.00
                                                                                                             $_________            $__________

     6. Net income from rental and other real property                     Debtor 1       Debtor 2
        Gross receipts (before all deductions)                                $______
                                                                               0.00         0.00
                                                                                          $______
          Ordinary and necessary operating expenses                        – $______
                                                                              0.00 –        0.00
                                                                                          $______
                                                                                                     Copy
          Net monthly income from rental or other real property                0.00
                                                                              $______       0.00 here
                                                                                          $______              0.00
                                                                                                             $_________             0.00
                                                                                                                                   $__________
     7. Interest, dividends, and royalties                                                                     0.00
                                                                                                             $_________             0.00
                                                                                                                                   $__________



    Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
Filed 05/12/19                                                                                   Case 19-12023                                                                                       Doc 1

    Debtor 1           Oscar   Antonio Uribe
                       _______________________________________________________                                                   Case number (if known)_____________________________________
                       First Name          Middle Name                Last Name



                                                                                                                                    Column A                    Column B
                                                                                                                                    Debtor 1                    Debtor 2 or
                                                                                                                                                                non-filing spouse

        8. Unemployment compensation                                                                                                    0.00
                                                                                                                                      $__________                   0.00
                                                                                                                                                                   $___________
           Do not enter the amount if you contend that the amount received was a benefit
           under the Social Security Act. Instead, list it here: ............................... 
                                                                                                           0.00
               For you .................................................................................. $______________
                                                                                                   0.00
               For your spouse................................................................... $______________

        9. Pension or retirement income. Do not include any amount received that was a
           benefit under the Social Security Act.                                                                                      0.00
                                                                                                                                      $__________                  0.00
                                                                                                                                                                  $___________
        10. Income from all other sources not listed above. Specify the source and amount.
            Do not include any benefits received under the Social Security Act or payments received
            as a victim of a war crime, a crime against humanity, or international or domestic
            terrorism. If necessary, list other sources on a separate page and put the total below.

             ______________________________________                                                                                    0.00
                                                                                                                                      $_________                   0.00
                                                                                                                                                                  $___________
             ______________________________________                                                                                    0.00
                                                                                                                                      $_________                   0.00
                                                                                                                                                                  $___________
             Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                                   + $_________                   0.00
                                                                                                                                                               + $___________
        11. Calculate your total current monthly income. Add lines 2 through 10 for each
            column. Then add the total for Column A to the total for Column B.                                                         5,839.60
                                                                                                                                      $_________
                                                                                                                                                           +       0.00
                                                                                                                                                                  $___________
                                                                                                                                                                                      = $__________
                                                                                                                                                                                         5,839.60
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

        Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

        12. Calculate your current monthly income for the year. Follow these steps:
           12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here          5,839.60
                                                                                                                                                                                      $__________

                    Multiply by 12 (the number of months in a year).                                                                                                                  x 12
           12b.     The result is your annual income for this part of the form.                                                                                                12b.     70,075.20
                                                                                                                                                                                      $__________

        13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                              CA

           Fill in the number of people in your household.                                   6

           Fill in the median family income for your state and size of household. ............................................................................................. 13.     114,813.00
                                                                                                                                                                                      $__________
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk’s office.
        14. How do the lines compare?
                ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           14a. 
                       Go to Part 3.

           14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                        Go to Part 3 and fill out Form 122A–2.

        Pa rt 3 :      Sign Be low

                      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                      /s/ Oscar Antonio Uribe
                            __________________________________________________________                                       ______________________________________
                                                                                                                              /s/ Elizabeth Uribe
                           Signature of Debtor 1                                                                              Signature of Debtor 2

                                05/09/2019
                           Date _________________                                                                                  05/09/2019
                                                                                                                              Date _________________
                                MM / DD / YYYY                                                                                     MM / DD / YYYY

                           If you checked line 14a, do NOT fill out or file Form 122A–2.
                           If you checked line 14b, fill out Form 122A–2 and file it with this form.
    ¯

    Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
         B2030 (Form 2030) (12/15)
Filed 05/12/19                                                             Case 19-12023                                                                 Doc 1

                                            United States Bankruptcy Court
                                                                    Eastern District of California
                                                     __________________________________
           In re   Oscar Antonio Uribe & Elizabeth Uribe

                                                                                                                   Case No. _______________

          Debtor                                                                                                            7
                                                                                                                    Chapter________________

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

          1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
             above named debtor(s) and that compensation paid to me within one year before the filing of the
             petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
             the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      ✔   FLAT FEE
                                                                                                                               1,500.00
                For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                       1,500.00
                Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                         0.00
                Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

           RETAINER
                For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

                The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
                [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
                approved fees and expenses exceeding the amount of the retainer.

          2. The source of the compensation paid to me was:
                       Debtor                                 Other (specify)

          3. The source of compensation to be paid to me is:
                       Debtor                                 Other (specify)

          4.         I have not agreed to share the above-disclosed compensation with any other person unless they
               are members and associates of my law firm.

                    I have agreed to share the above-disclosed compensation with a other person or persons who
          are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
          of the people sharing the compensation is attached.
          5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
             bankruptcy case, including:
               a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
                  whether to file a petition in bankruptcy;
               b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
                  required;
               c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
                  adjourned hearings thereof;
Filed 05/12/19                                                   Case 19-12023                                                                     Doc 1
          B2030 (Form 2030) (12/15)
               d. [Other provisions as needed]
         Fee includes one (1) appearance at a 341 Meeting of Creditors. Additional appearances will be charged at a rate of $200.00 per meeting.




         6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
         Adversary proceedings.
Filed 05/12/19                                     Case 19-12023                                             Doc 1




                                                       CERTIFICATION
                  I certify that the foregoing is a complete statement of any agreement or arrangement for
                      payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                   05/09/2019                       /s/ Scott Bell, 198387
                 _____________________             _________________________________________
                 Date                                    Signature of Attorney
                                                    Law Offices of Scott Bell
                                                   _________________________________________
                                                        ​Name of law firm
                                                    1331 L St.
                                                    Bakersfield, CA 93301
                                                    s.bell@bell-law.net
